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                  EXHIBIT D
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                             UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION



NATHAN GERGETZ, individually and on    )              CASE NO.: 5:16-cv-4261-BLF
behalf of all others similarly situated,
                                       )
                                       )
              Plaintiffs,              )
      v.                               )
                                       )
TELENAV, INC., a Delaware corporation, )
                                       )
              Defendant.               )
                                       )
______________________________________)

   DECLARATION OF CAMERON R. AZARI, ESQ. ON IMPLEMENTATION AND
              ADEQUACY OF SETTLEMENT NOTICE PLAN

I, CAMERON R. AZARI, ESQ., hereby declare and state as follows:

       1.    My name is Cameron R. Azari, Esq. I am over the age of twenty-one and I have

personal knowledge of the matters set forth herein, and I believe them to be true and correct.

       2.    I am a nationally recognized expert in the field of legal notice and I have served as

an expert in dozens of federal and state cases involving class action notice plans.

       3.    I am the Director of Legal Notice for Hilsoft Notifications (“Hilsoft”), a firm that

specializes in designing, developing, analyzing and implementing large-scale, un-biased, legal

notification plans. Hilsoft is a business unit of Epiq’s Class Action & Claims Solutions, Inc.

(“Epiq”).

       4.    Hilsoft has been involved with some of the most complex and significant notices

and notice programs in recent history. With experience in more than 400 cases, including more

than 35 MDLs, notices prepared by Hilsoft have appeared in 53 languages with distribution in


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almost every country, territory and dependency in the world. Judges, including in published

decisions, have recognized and approved numerous notice plans developed by Hilsoft, which

decisions have always withstood collateral reviews by other courts and appellate challenges.

                        EXPERIENCE RELEVANT TO THIS CASE

       5.    I have served as a notice expert and have been recognized and appointed by courts

to design and provide notice in many of the largest and most significant cases, including: In re:

Takata Airbag Products Liability Litigation (Settlements with – BMW, Mazda, Subaru, Toyota,

Honda and Nissan), MDL No. 2599 (S.D. Fla.) ($1.2 billion in settlements regarding Takata

airbags. The monumental Notice Plans included individual mailed notice to more than 51.5

million potential Class Members and extensive nationwide media via consumer publications,

U.S. Territory newspapers, radio spots, internet banners, mobile banners, and specialized

behaviorally targeted digital media. Combined, the Notice Plans reached more than 95% of

adults aged 18+ in the U.S. who owned or leased a subject vehicle an average of 4.0 times each);

In re: Volkswagen “Clean Diesel” Marketing, Sales Practices and Product Liability Litigation

(Bosch Settlement), MDL No. 2672 (N.D. Cal.) (Comprehensive notice program within the

Volkswagen Emissions Litigation that provided individual notice to more than 946,000 vehicle

owners via first class mail and to more than 855,000 via email. A targeted internet campaign

further enhanced the notice effort); In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the

Gulf of Mexico, on April 20, 2010, MDL No. 2179 (E.D. La.) (One of the largest claim deadline

notice campaigns ever implemented, for BP’s $7.8 billion settlement claim deadline relating to

the Deepwater Horizon oil spill. Hilsoft designed and implemented the claim deadline notice

program, which resulted in a combined measurable paid print, television, radio and internet


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notice effort that reached in excess of 90% of adults aged 18+ in the 26 identified DMAs1

covering the Gulf Coast Areas an average of 5.5 times each); Rose v. Bank of Am. Corp., Case

No. 11-cv-02390-EJD (N.D. Cal.) (TCPA settlement with email and postcard notice to over 6.9

million Class Members and publication notice in Parade Magazine and other consumer

publications); In re: Energy Future Holdings Corp., et. al. (Asbestos Claims Bar Date Notice),

Case No. 14-10979 (CSS) (Bankr. D. Del.) (Large asbestos bar date notice effort, which included

individual notice, national consumer publications and newspapers, hundreds of local newspapers,

Spanish newspapers, union labor publications, and digital media to reach the target audience); In

re: Payment Card Interchange Fee and Merchant Discount Antitrust Litigation, MDL No. 1720

(E.D.N.Y.) ($7.2 billion settlement reached with Visa and MasterCard. The intensive notice

program involved over 19.8 million direct mail notices together with insertions in over 1,500

newspapers, consumer magazines, national business publications, trade & specialty publications,

and language & ethnic targeted publications, as well as online banner notices, which generated

more than 770 million adult impressions and a case website in eight languages); In Re: Oil Spill

by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179

(E.D. La.) (Dual landmark settlement notice programs to separate “Economic and Property

Damages” and “Medical Benefits” settlement classes.                  Notice effort included over 7,900

television spots, over 5,200 radio spots, and over 5,400 print insertions and reached over 95% of

Gulf Coast residents); In Re American Express Anti-Steering Rules Antitrust Litigation (II)

(“Italian Colors”), MDL No. 2221 (E.D.N.Y.) (Momentous injunctive settlement regarding


1
  DMA or Designated Market Area is a “term used by Nielsen Media Research to identify an exclusive geographic
area of counties in which the home market television stations hold a dominance of total hours viewed. There are
210 DMA’s in the US. Nielsen Media Research, Glossary of Media Terms, http://www.nielsenmedia.com/glossary/.


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merchant payment card processing. Notice program provided individual notice to more than 3.8

million merchants as well as coverage in national and local business publications, retail trade

publications and placement in the largest circulation newspaper in each of the U.S. territories and

possessions); In Re: Checking Account Overdraft Litigation, MDL No. 2036 (S.D. Fla.)

(Multiple bank settlements between 2010-2017 involving direct mail and email to millions of

class members and publication in relevant local newspapers. Representative banks include, Bank

of Oklahoma, Webster Bank, Harris Bank, M & I Bank, Community Bank, PNC Bank, Compass

Bank, Commerce Bank, Citizens Bank, Great Western Bank, TD Bank, Bancorp, Whitney Bank,

Associated Bank, and Susquehanna Bank); In re Residential Schools Class Action Litigation,

(Canada) (Five phase notice program for the landmark settlement between the Canadian

government and Aboriginal former students. Phase V of the notice program was implemented

during 2014); and In re Department of Veterans Affairs (VA) Data Theft Litigation, MDL No.

1796 (D.D.C.) (Notices appeared across the country in newspapers, consumer magazines, and

specialty publications with a total circulation exceeding 76 million).

       6.      Courts have recognized our testimony as to which method of notification is

appropriate for a given case, and I have provided testimony on numerous occasions on whether a

certain method of notice represents the best notice practicable under the circumstances. For

example:

               a)      In re: Volkswagen “Clean Diesel” Marketing, Sales Practices and Products

       Liability Litigation (Bosch Settlement), MDL No. 2672 (N.D. Cal.), Judge Charles R. Breyer

       on May 17, 2017:

               The Court is satisfied that the Notice Program was reasonably calculated
               to notify Class Members of the proposed Settlement. The Notice

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        “apprise[d] interested parties of the pendency of the action and afford[ed]
        them an opportunity to present their objections.” Mullane v. Cent.
        Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). Indeed, the Notice
        Administrator reports that the notice delivery rate of 97.04% “exceed[ed]
        the expected range and is indicative of the extensive address updating and
        re-mailing protocols used.” (Dkt. No. 3188-2 ¶ 24.)

        b)     In re: Caterpillar, Inc., C13 and C15 Engine Products Liability Litigation,

 MDL No. 2540 (D.N.J.), Judge Jerome B. Simadle on September 20, 2016:

        The Court hereby finds that the Notice provided to the Settlement Class
        constituted the best notice practicable under the circumstances. Said
        Notice provided due and adequate notice of these proceedings and the
        matters set forth herein, including the terms of the Settlement Agreement,
        to all persons entitled to such notice, and said notice fully satisfied the
        requirements of Fed. R. Civ. P. 23, requirements of due process and any
        other applicable law.

        c)     Chimeno-Buzzi v. Hollister Co. and Abercrombie & Fitch Co., Case No.

 14-23120 (S.D. Fla.), Judge Marcia G. Cooke on April 11, 2016:

        Pursuant to the Court’s Preliminary Approval Order, the Settlement
        Administrator, Epiq Systems, Inc. [Hilsoft Notifications], has complied
        with the approved notice process as confirmed in its Declaration filed with
        the Court on March 23, 2016. The Court finds that the notice process was
        designed to advise Class Members of their rights. The form and method
        for notifying Class Members of the settlement and its terms and conditions
        was in conformity with this Court’s Preliminary Approval Order,
        constituted the best notice practicable under the circumstances, and
        satisfied the requirements of Federal Rule of Civil Procedure 23(c)(2)(B),
        the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715, and
        due process under the United States Constitution and other applicable laws.

        d)     Adkins v. Nestle Purina PetCare Company, et al., Case No. 12-cv-2871

 (N.D. Ill.), Judge Robert W. Gettleman on June 23, 2015:

        Notice to the Settlement Class and other potentially interested parties has
        been provided in accordance with the notice requirements specified by the
        Court in the Preliminary Approval Order. Such notice fully and accurately
        informed the Settlement Class members of all material elements of the
        proposed Settlement and of their opportunity to object or comment thereon
        or to exclude themselves from the Settlement; provided Settlement Class
        Members adequate instructions and a variety of means to obtain
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        additional information; was the best notice practicable under the
        circumstances; was valid, due, and sufficient notice to all Settlement Class
        members; and complied fully with the laws of the State of Illinois, Federal
        Rules of Civil Procedure, the United States Constitution, due process, and
        other applicable law.

        e)     Gulbankian et al. v. MW Manufacturers, Inc., Case No. 1:10-cv-10392-

 RWZ (D. Mass.), Judge Rya W. Zobel on December 29, 2014:

        This Court finds that the Class Notice was provided to the Settlement
        Class consistent with the Preliminary Approval Order and that it was the
        best notice practicable and fully satisfied the requirements of the Federal
        Rules of Civil Procedure, due process, and applicable law. The Court
        finds that the Notice Plan that was implemented by the Claims
        Administrator satisfies the requirements of FED. R. CIV. P. 23, 28 U.S.C.
        § 1715, and Due Process, and is the best notice practicable under the
        circumstances. The Notice Plan constituted due and sufficient notice of the
        Settlement, the Final Approval Hearing, and the other matters referred to
        in the notices. Proof of the giving of such notices has been filed with the
        Court via the Azari Declaration and its exhibits.

        f)     Rose v. Bank of America Corporation, and FIA Card Services, N.A., Case

 Nos. 5:11-CV-02390-EJD; 5:12-CV-04009-EJD (N.D. Cal.), Judge Edward J. Davila on

 August 29, 2014:

        The Court finds that the notice was reasonably calculated under the
        circumstances to apprise the Settlement Class of the pendency of this
        action, all material elements of the Settlement, the opportunity for
        Settlement Class Members to exclude themselves from, object to, or
        comment on the settlement and to appear at the final approval hearing.
        The notice was the best notice practicable under the circumstances,
        satisfying the requirements of Rule 23(c)(2)(B); provided notice in a
        reasonable manner to all class members, satisfying Rule 23(e)(1)(B); was
        adequate and sufficient notice to all Class Members; and, complied fully
        with the laws of the United States and of the Federal Rules of Civil
        Procedure, due process and any other applicable rules of court.

        g)     Wong et al. v. Alacer Corp., Case No. CGC-12-519221 (Cal. Super. Ct.),

 Judge James A. Robertson, II on June 27, 2014:




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        Notice to the Settlement Class has been provided in accordance with the
        Preliminary Approval Order. Based on the Declaration of Cameron Azari
        dated March 7, 2014, such Class Notice has been provided in an adequate
        and sufficient manner, constitutes the best notice practicable under the
        circumstances and satisfies the requirements of California Civil Code
        Section 1781, California Civil Code of Civil Procedure Section 382, Rules
        3.766 of the California Rules of Court, and due process.

        h)     In re Payment Card Interchange Fee and Merchant Discount Antitrust

 Litigation, Case No. 1:05-cv-03800 (E.D.N.Y.), Judge John Gleeson stated on December

 13, 2013:

        The Class Administrator notified class members of the terms of the
        proposed settlement through a mailed notice and publication campaign
        that included more than 20 million mailings and publication in more than
        400 publications. The notice here meets the requirements of due process
        and notice standards… The objectors’ complaints provide no reason to
        conclude that the purposes and requirements of a notice to a class were
        not met here.

        i)     Marolda v. Symantec Corporation, Case No. 08-cv-05701 (N.D. Cal.),

 Judge Edward M. Chen stated on April 5, 2013:

        Approximately 3.9 million notices were delivered by email to class
        members, but only a very small percentage objected or opted out . . . The
        Court . . . concludes that notice of settlement to the class was adequate
        and satisfied all requirements of Federal Rule of Civil Procedure 23(e)
        and due process. Class members received direct notice by email, and
        additional notice was given by publication in numerous widely circulated
        publications as well as in numerous targeted publications. These were the
        best practicable means of informing class members of their rights and of
        the settlement’s terms.

        j)     In Re: Zurn Pex Plumbing Products Liability Litigation, Case No. 08-cv-

 01958 (D. Minn.), Judge Ann D. Montgomery stated on February 27, 2013:

        The parties retained Hilsoft Notifications (“Hilsoft”), an experienced
        class-notice consultant, to design and carry out the notice plan. The form
        and content of the notices provided to the class were direct,
        understandable, and consistent with the “plain language” principles
        advanced by the Federal Judicial Center. The notice plan’s multi-faceted
        approach to providing notice to settlement class members whose identity

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        is not known to the settling parties constitutes” the best notice that is
        practicable under the circumstances” consistent with Rule 23(c)(2)(B).

        k)     In Re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of

 Mexico, on April 20, 2010, MDL No. 2179 (E.D. La.), Judge Carl J. Barbier stated on

 January 11, 2013:

        The Court finds that the Class Notice and Class Notice Plan satisfied and
        continue to satisfy the applicable requirements of Federal Rule of Civil
        Procedure 23(c)(2)(b) and 23(e), the Class Action Fairness Act (28 U.S.C.
        § 1711 et seq.), and the Due Process Clause of the United States
        Constitution (U.S. Const., amend. V), constituting the best notice that is
        practicable under the circumstances of this litigation.

        The notice program surpassed the requirements of Due Process, Rule 23,
        and CAFA. Based on the factual elements of the Notice Program as
        detailed below, the Notice Program surpassed all of the requirements of
        Due Process, Rule 23, and CAFA.

        The media notice effort alone reached an estimated 95% of adults in the
        Gulf region an average of 10.3 times each, and an estimated 83% of all
        adults in the United States an average of 4 times each. These figures do
        not include notice efforts that cannot be measured, such as advertisements
        in trade publications and sponsored search engine listings. The Notice
        Program fairly and adequately covered and notified the class without
        excluding any demographic group or geographic area, and it exceeded the
        reach percentage achieved in most other court-approved notice programs.

        l)     In Schulte v. Fifth Third Bank, Case No. 1:09-cv-6655 (N.D. Ill.), Judge

 Robert M. Dow, Jr. stated on July 29, 2011:

        The Court has reviewed the content of all of the various notices, as well as
        the manner in which Notice was disseminated, and concludes that the
        Notice given to the Class fully complied with Federal Rule of Civil
        Procedure 23, as it was the best notice practicable, satisfied all
        constitutional due process concerns, and provided the Court with
        jurisdiction over the absent Class Members.

        m)     In re: Heartland Payment Systems, Inc. Customer Data Security Breach

 Litigation, MDL No. 09-2046 (S.D. Tex.), Judge Lee Rosenthal stated on March 2, 2012:



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               The notice that has been given clearly complies with Rule 23(e)(1)’s
               reasonableness requirement… Hilsoft Notifications analyzed the notice
               plan after its implementation and conservatively estimated that notice
               reached 81.4 percent of the class members. (Docket Entry No. 106, ¶ 32).
               Both the summary notice and the detailed notice provided the information
               reasonably necessary for the presumptive class members to determine
               whether to object to the proposed settlement. See Katrina Canal Breaches,
               628 F.3d at 197. Both the summary notice and the detailed notice “were
               written in easy-to-understand plain English.” In re Black Farmers
               Discrimination Litig., — F. Supp. 2d —, 2011 WL 5117058, at *23
               (D.D.C. 2011); accord AGGREGATE LITIGATION § 3.04(c).15 The
               notice provided “satisf[ies] the broad reasonableness standards imposed
               by due process” and Rule 23. Katrina Canal Breaches, 628 F.3d at 197
               (internal quotation marks omitted).

       7.      Numerous other court opinions and comments as to our testimony, and opinions

on the adequacy of our notice efforts, are included in Hilsoft’s curriculum vitae included as

Attachment 1.

       8.      In forming my expert opinions, I and my staff draw from our in-depth class action

case experience, as well as our educational and related work experiences. I am an active member

of the Oregon State Bar, receiving my Bachelor of Science from Willamette University and my

Juris Doctor from Northwestern School of Law at Lewis and Clark College. I have served as the

Director of Legal Notice for Hilsoft since 2008 and have overseen the detailed planning of

virtually all of our court-approved notice programs since that time. Prior to assuming my current

role with Hilsoft, I served in a similar role as Director of Epiq Legal Noticing (previously called

Huntington Legal Advertising). Overall, I have over 18 years of experience in the design and

implementation of legal notification and claims administration programs having been personally

involved in well over one hundred successful notice programs.          I have been directly and

personally responsible for designing all of the notice planning here, including analysis of the

individual notice options and the media audience data and determining the most effective



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mixture of media required to reach the greatest practicable number of Settlement Class Members.

In my experience, the reach and frequency of the Notice Plan media effort as designed and

implemented, met due process requirements.

       9.      The facts in this declaration are based on what I personally know, as well as

information provided to me in the ordinary course of my business by my colleagues at Hilsoft

and Epiq, who worked with us to implement the notification effort.

                                         OVERVIEW

       10.    In Gergetz v. Telenav, Inc., Case No. 5:16-cv-4261-BLF (United States District

Court for the Northern District of California, San Jose Division), my colleagues and I were asked

to design the Notice Program (or “Notice Plan”) to inform Settlement Class Members about their

rights under the Settlement.

       11.    On April 30, 2018, the Court approved the Notice Plan as designed by Hilsoft and

appointed Epiq as the Settlement Administrator in the Order Granting Preliminary Approval of

Class Action Settlement (“Order”). In the Order, the Court certified the following Subclasses

defined as:

       The “No Consent Subclass”: All persons in the United States who during the Class
       Period received at least one Download the Scout App Text Message; and/or

       The “Stop Subclass”: All persons in the United States who during the Class Period
       received at least one additional message other than a message confirming an opt out
       request, after replying STOP, QUIT, END, CANCEL or UNSUBSCRIBE to any
       text message received from any Telenav Number.

       12.    After the Court’s preliminary approval of the Settlement, we began to implement

the Notice Program. This declaration will detail the successful implementation of the Notice




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Program and document the completion of the notice activities to date. The declaration will also

discuss the administration activity to date.

          13.      To date, the Notice Plan has been implemented as ordered by the Court, including

dissemination of individual notice to potential Settlement Class Members via postal mail and

email, and publication of the Notice on highly trafficked websites. A Settlement Website

provided additional notice exposures.

          14.      The combined measurable effort alone reached2 approximately 79.1% of the overall

Settlement Class with direct mail and email, and internet banner ads. Not reflected in the

calculable reach and average frequency of exposures is the addition of the Settlement Website.

In my experience, the reach and frequency of the Notice Plan meets that of other court-approved

notice programs, and was designed to meet due process requirements. In my opinion, the Notice

Plan was the best notice practicable under the circumstances of this case and satisfied the

requirements of due process, including its “desire to actually inform” requirement.3

                                                   NOTICE PLAN DETAIL

                                                    Individual Notice – Mail

          15.      On April 27, 2018, Epiq received one data file (“Telenav Lists”), which contained

204,653 total phone number records (2,156 phone numbers in the “Stop Subclass” and 202,497

phone numbers in the “No Consent Subclass”).                                    The records were sent to a third-party

(PacificEast) to perform “reverse look-ups.” The reverse look-ups process is used to identify

2
  Reach is defined as the percentage of a class exposed to notice, net of any duplication among people who may have been exposed more than
once. Notice exposure is defined as the opportunity to see a notice.
3
  “But when notice is a person’s due, process which is a mere gesture is not due process. The means employed must be such as one desirous of
actually informing the absentee might reasonably adopt to accomplish it. The reasonableness and hence the constitutional validity of any chosen
method may be defended on the ground that it is in itself reasonably certain to inform those affected . . .” Mullane v. Cent. Hanover Bank &
Trust Co., 339 U.S. 306, 315 (1950).



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whether an available associated physical address exists for each cell phone number, which

resulted in 145,984 valid physical addresses. PacificEast then performed a second search to

determine the best current email address for each record where there was a valid physical

address, which resulted in 124,830 valid email addresses. For those records for which the

reverse look-up process successfully identified an email address, a Summary Notice was emailed

and for those records for which the reverse look-up process successfully identified a physical

address, a Summary Postcard Notice was also mailed. Potential Settlement Class Members with

more than one affected phone number were identified so they only received one mailed or

emailed Summary Notice. The individual notice effort detailed below reached approximately

95.5% of the identifiable Settlement Subclasses and 79.1% of the overall Settlement Subclasses.

           16.     Prior to mailing, all mailing addresses were checked against the National Change of

Address (“NCOA”) database maintained by the United States Postal Service (“USPS”).4 Any

addresses that were returned by the NCOA database as invalid were updated through a third-

party address search service. In addition, the addresses were certified via the Coding Accuracy

Support System (“CASS”) to ensure the quality of the zip code, and verified through Delivery

Point Validation (“DPV”) to verify the accuracy of the addresses. This address updating process

is standard for the industry and for the majority of promotional mailings that occur today.

           17.     On May 30, 2018, Epiq mailed 145,984 Summary Postcard Notices via USPS first

class mail to potential Settlement Class Members. Each notice was a two image 4.25” x 5.5”




4
  The NCOA database contains records of all permanent change of address submissions received by the USPS for the last four years. The USPS
makes this data available to mailing firms and lists submitted to it are automatically updated with any reported move based on a comparison with
the person’s name and known address.



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Summary Postcard Notice. A copy of the Summary Postcard Notice as printed and mailed is

included as Attachment 2.

       18.   Additionally, a Notice Packet (Long Form Notice and Claim Form) was mailed via

USPS first class mail to all persons who requested one via the toll-free phone number. As of

August 21, 2018, 140 Notice Packets have been mailed as a result of such requests. A copy of

the Notice Packet as printed and mailed is included as Attachment 3.

       19.   The return address on the Notices is a post office box maintained by Epiq. As of

August 21, 2018, Epiq has re-mailed 2,636 Summary Postcard Notices for addresses that were

corrected through the USPS. For Summary Postcard Notices that were returned as undeliverable,

Epiq undertook additional public record research, using a third-party lookup service (“ALLFIND”,

maintained by LexisNexis), which as of August 21, 2018, has resulted in the re-mailing of 10,264

Summary Postcard Notices. Address updating and re-mailing for undeliverable Summary Postcard

Notices is ongoing and will continue through the Final Approval Hearing.

                                   Individual Notice – Email

       20.   On May 30, 2018, Epiq disseminated 124,830 Summary Email Notices to all

potential Settlement Class Members for whom a facially valid email address was available. The

Summary Email Notice was created using an embedded html text format. This format provided

easy to read text without graphics, tables, images and other elements to decrease the likelihood

that the message would be blocked by Internet Service Providers (ISPs) and/or SPAM filters.

Each Summary Email Notice was transmitted with a unique message identifier. If the receiving

e-mail server could not deliver the message, a “bounce code” was returned along with the unique

message identifier. For any Summary Email Notice for which a bounce code was received


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indicating that the message was undeliverable, at least two additional attempts were made to

deliver the Notice by email.

       21.   The Summary E-mail Notice included an embedded link to the Settlement Website.

By clicking the link, recipients are able to easily access the Long Form Notice in English or

Spanish, Settlement Agreement, Claim Form and other information about the settlement. The

Summary Email Notice is included as Attachment 4.

       22.   As of August 21, 2018, Epiq has emailed and mailed Notices to 145,984 unique

potential Settlement Class Members, with notice to 6,460 unique, potential Settlement Class

Members currently known to be undeliverable. In my experience, this approximate 95.5%

deliverable rate to identified likely Class Members exceeds the expected range and is indicative

of the extensive address research, updating and re-mailing protocols used.

                                    Internet Banner Notices

       23.   Internet Banner Notices measuring 728 x 90 pixels and 300 x 250 pixels were

placed on the online network: Google Ad Network. Banner Notices measuring 254 x 133 pixels

were also placed on Facebook.

       24.   Combined, approximately 204 million adult impressions were generated by the

Internet Banner Notice, which ran from May 30, 2018 to June 30, 2018. Clicking on the banner

linked the reader to the Settlement Website where they could obtain information about the

Settlement. Examples of the Banner Notices are included as Attachment 5.

                                       Settlement Website

       25.   On    May     21,   2018,    a    neutral,   informational,     Settlement   Website

(www.TelenavTCPASettlement.com) was established to enable potential Settlement Class


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Members to obtain additional information and documents including the Long Form Notice in

English and Spanish, Settlement Agreement, Claim Form, Complaint and answers to frequently

asked questions. Settlement Class Members are able to submit a Claim via the Settlement

Website. A copy of the Long Form Notice and the Postcard Notice both in Spanish, as included

on the Settlement Website are included as Attachment 6.

       26.     The Settlement Website address was prominently displayed in all printed notice

documents. The Banner Notices linked directly to the Settlement Website.

       27.   As of August 21, 2018, there have been 120,428 unique visitors to the Settlement

Website and over 260,253 website pages presented.

                   Toll-free Telephone Number and Postal Mailing Address

       28.   On May 21, 2018, a toll-free phone number (1-877-646-9240) was established to

allow potential Settlement Class Members to call and request that a Long Form Notice and

Claim Form be mailed to them. The toll-free number also provides potential Settlement Class

Members with access to recorded information that includes answers to frequently-asked

questions and directs them to the Settlement Website. This automated phone system is available

24 hours per day, 7 days per week. As of August 21, 2018, the toll-free number has handled 283

calls representing 1,696 minutes of use.

       29.   A post office box was established to allow potential Settlement Class Members to

contact the settlement administrator by mail with any specific requests or questions.




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                                            Exclusions and Objections

         30.       The exclusion deadline was August 16, 2018. As of August 21, 2018, Epiq has

received no requests for exclusion from the Settlement Subclasses. I am aware of no objections

to the Settlement at the time of this declaration.

                           PERFORMANCE OF THE NOTICE PROGRAM

                                                 Reach & Frequency

         31.       Using standard advertising media industry methodologies to calculate the overlap

inherent in exposures to the direct mail and email, and internet banner ads we arrive at a

combined measurable reach of approximately 79.1% of the overall Settlement Subclasses.

Reach was enhanced further by the Settlement Website.

         32.       Many courts have accepted and understood that a 75 or 80 percent reach is more

than adequate. In 2010, the Federal Judicial Center issued a Judges’ Class Action Notice and

Claims Process Checklist and Plain Language Guide. This Guide states that, “the lynchpin in an

objective determination of the adequacy of a proposed notice effort is whether all the notice

efforts together will reach a high percentage of the class. It is reasonable to reach between 70–

95%.”5      Here we were able to develop a Notice Plan that reached well within this range

(approximately 79.1%) that was broad in scope and was designed to reach the greatest

practicable number of Settlement Class Members.




5
  FED. JUDICIAL CTR, JUDGES’ CLASS ACTION NOTICE AND CLAIMS PROCESS CHECKLIST AND PLAIN LANGUAGE GUIDE 3 (2010), available at
http://www.fjc.gov/public/pdf.nsf/lookup/NotCheck.pdf/$file/NotCheck.pdf.




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                               Costs of Settlement Administration

       33.      The combined, approximate cost to implement the notice plan and handle the

administration of claims to date for this Settlement is $215,901.60. This includes a cost of

approximately $46,100 for the media Notice Plan (internet banners and associated professional

services) and a cost of approximately $169,801.60 to implement email and mailed notice and for

claims administration activity to date (claims processing, website/phone support and associated

project management).

       34.      It is anticipated that approximately $47,611.26 additional in settlement

administration fees will be incurred to complete the settlement administration.

                                         CONCLUSION

       35.      In class action notice planning, execution, and analysis, we are guided by due

process considerations under the United States Constitution, by federal and local rules and

statutes, and further by case law pertaining to notice. This framework directs that the notice

program be designed to reach the greatest practicable number of potential class members and, in

a settlement class action notice situation such as this, that the notice or notice program itself not

limit knowledge of the availability of benefits—nor the ability to exercise other options—to class

members in any way. All of these requirements were met in this case.

       36.      Our notice effort followed the guidance for how to satisfy due process obligations

that a notice expert gleans from the United States Supreme Court’s seminal decisions which are:

a) to endeavor to actually inform the class, and b) to demonstrate that notice is reasonably

calculated to do so:
             A. “But when notice is a person’s due, process which is a mere gesture is not due
       process. The means employed must be such as one desirous of actually informing the

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 Hilsoft Notifications is a leading provider of legal notice services for large-scale class action and bankruptcy
 matters. We specialize in providing quality, expert, notice plan development – designing notice programs that
 satisfy due process requirements and withstand judicial scrutiny. For more than 23 years, Hilsoft Notifications’
 notice plans have been approved and upheld by courts. Hilsoft Notifications has been retained by defendants
 and/or plaintiffs on more than 300 cases, including more than 30 MDL cases, with notices appearing in more than
 53 languages and in almost every country, territory and dependency in the world. Case examples include:

    Hilsoft designed and implemented monumental notice campaigns to notify current or former owners or
     lessees of certain BMW, Mazda, Subaru, Toyota, Honda, and Nissan vehicles as part of $1.2 billion in
     settlements regarding Takata airbags. The Notice Plans included individual mailed notice to more than 51.5
     million potential Class Members and notice via consumer publications, U.S. Territory newspapers, radio
     spots, internet banners, mobile banners, and specialized behaviorally targeted digital media. Combined,
     the Notice Plans reached more than 95% of adults aged 18+ in the U.S. who owned or leased a subject
     vehicle with a frequency of 4.0 times each. In re: Takata Airbag Products Liability Litigation (OEMS –
     BMW, Mazda, Subaru, Toyota, Honda and Nissan), MDL No. 2599 (S.D. Fla.).

    A comprehensive notice program within the Volkswagen Emissions Litigation that provided individual notice
     to more than 946,000 vehicle owners via first class mail and to more than 855,000 via email. A targeted
     internet campaign further enhanced the notice effort. In re: Volkswagen “Clean Diesel” Marketing, Sales
     Practices and Product Liability Litigation (Bosch Settlement), MDL No. 2672 (N.D. Cal.).

    Hilsoft designed and implemented an extensive settlement Notice Plan for a class period spanning more
     than 40 years for smokers of light cigarettes. The Notice Plan delivered a measured reach of approximately
     87.8% of Arkansas Adults 25+ with a frequency of 8.9 times and approximately 91.1% of Arkansas Adults
     55+ with a frequency of 10.8 times. Hispanic newspaper notice, an informational release, radio PSAs,
     sponsored search listings and a case website further enhanced reach. Miner v. Philip Morris USA, Inc.,
     No. 60CV03-4661 (Ark. Cir.).

    One of the largest claim deadline notice campaigns ever implemented, for BP’s $7.8 billion settlement claim
     deadline relating to the Deepwater Horizon oil spill. Hilsoft Notifications designed and implemented the
     claim deadline notice program, which resulted in a combined measurable paid print, television, radio and
     Internet effort that reached in excess of 90% of adults aged 18+ in the 26 identified DMAs covering the Gulf
     Coast Areas an average of 5.5 times each. In re Oil Spill by the Oil Rig “Deepwater Horizon” in the
     Gulf of Mexico, on April 20, 2010, MDL No. 2179 (E.D. La.).

    Large asbestos bar date notice effort, which included individual notice, national consumer publications,
     hundreds of local and national newspapers, Spanish newspapers, union labor publications, and digital
     media to reach the target audience. In re: Energy Future Holdings Corp., et al. (Asbestos Claims Bar
     Date Notice), 14-10979(CSS) (Bankr. D. Del.).

    Landmark $6.05 billion settlement reached by Visa and MasterCard. The intensive notice program involved
     over 19.8 million direct mail notices to class members together with insertions in over 1,500 newspapers,
     consumer magazines, national business publications, trade & specialty publications, and language & ethnic
     targeted publications. Hilsoft also implemented an extensive online notice campaign with banner notices,
     which generated more than 770 million adult impressions, a case website in eight languages, and acquisition
     of sponsored search listings to facilitate locating the website. In re Payment Card Interchange Fee and
     Merchant Discount Antitrust Litigation, MDL No. 1720 (E.D.N.Y.).



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 BP’s $7.8 billion settlement of claims related to the Deepwater Horizon oil spill emerged from possibly the
  most complex class action in U.S. history. Hilsoft Notifications drafted and opined on all forms of
  notice. The 2012 notice program designed by Hilsoft reached at least 95% Gulf Coast region adults via
  television, radio, newspapers, consumer publications, trade journals, digital media and individual notice. In
  re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179
  (E.D. La.).

 Momentous injunctive settlement reached by American Express regarding merchant payment card
  processing. The notice program provided extensive individual notice to more than 3.8 million merchants as
  well as coverage in national and local business publications, retail trade publications and placement in the
  largest circulation newspapers in each of the U.S. territories and possessions. In re American Express
  Anti-Steering Rules Antitrust Litigation (II), MDL No. 2221 (E.D.N.Y.) (“Italian Colors”).

 Overdraft fee class actions have been brought against nearly every major U.S. commercial bank. For
  related settlements, Hilsoft Notifications has developed programs that integrate individual notice and paid
  media efforts. PNC, Citizens, TD Bank, Fifth Third, Harris Bank M&I, Comerica Bank, Susquehanna Bank,
  Capital One, M&T Bank and Synovus are among the more than 20 banks that have retained Hilsoft. In re
  Checking Account Overdraft Litigation, MDL No. 2036 (S.D. Fla.).

 Possibly the largest data breach in U.S. history with approximately 130 million credit and debit card numbers
  stolen. In re Heartland Data Security Breach Litigation, MDL No. 2046 (S.D. Tex.)

 Largest and most complex class action in Canadian history. Designed and implemented groundbreaking
  notice to disparate, remote aboriginal people in the multi-billion dollar settlement. In re Residential
  Schools Class Action Litigation, 00-CV-192059 CPA (Ont. Super. Ct.).

 Extensive point of sale notice program of a settlement providing payments up to $100,000 related to Chinese
  drywall – 100 million notices distributed to Lowe’s purchasers during a six-week period. Vereen v. Lowe’s
  Home Centers, SU10-CV-2267B (Ga. Super. Ct.).

 Largest discretionary class action notice campaign involving virtually every adult in the U.S. for the
  settlement. In re Trans Union Corp. Privacy Litigation, MDL No. 1350 (N.D. Ill.).

 Most complex national data theft class action settlement involving millions of class members. Lockwood
  v. Certegy Check Services, Inc., 8:07-cv-1434-T-23TGW (M.D. Fla.).

 Largest combined U.S. and Canadian retail consumer security breach notice program.                   In re TJX
  Companies, Inc., Customer Data Security Breach Litigation, MDL No. 1838 (D. Mass.).

 Most comprehensive notice ever in a securities class action for the $1.1 billion settlement of In re Royal
  Ahold Securities and ERISA Litigation, MDL No. 1539 (D. Md.).

 Most complex worldwide notice program in history. Designed and implemented all U.S. and international
  media notice with 500+ publications in 40 countries and 27 languages for $1.25 billion settlement. In re
  Holocaust Victims Assets, “Swiss Banks”, No. CV-96-4849 (E.D.N.Y.).

 Largest U.S. claim program to date. Designed and implemented a notice campaign for the $10 billion
  program. Tobacco Farmer Transition Program, (U.S. Dept. of Ag.).

 Multi-national claims bar date notice to asbestos personal injury claimants. Opposing notice expert’s reach
  methodology challenge rejected by court. In re Babcock & Wilcox Co, No. 00-10992 (E.D. La.).




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                                              LEGAL NOTICING EXPERTS


Cameron Azari, Esq., Director of Legal Notice
Cameron Azari, Esq. has more than 17 years of experience in the design and implementation of legal notification and
claims administration programs. He is a nationally recognized expert in the creation of class action notification
campaigns in compliance with Fed R. Civ. P. 23(c)(2) (d)(2) and (e) and similar state class action statutes. Cameron
has been responsible for hundreds of legal notice and advertising programs. During his career, he has been involved
in an array of high profile class action matters, including In re Payment Card Interchange Fee and Merchant Discount
Antitrust Litigation (MasterCard & Visa), In re: Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico,
Heartland Payment Systems, In re: Checking Account Overdraft Litigation, Lowe’s Home Centers, Department of
Veterans Affairs (VA), and In re Residential Schools Class Action Litigation. He is an active author and speaker on a
broad range of legal notice and class action topics ranging from amendments to FRCP Rule 23 to email noticing,
response rates and optimizing settlement effectiveness. Cameron is an active member of the Oregon State Bar. He
received his B.S. from Willamette University and his J.D. from Northwestern School of Law at Lewis and Clark College.
Cameron can be reached at caza@legalnotice.com.

Lauran Schultz, Executive Director
Lauran Schultz consults extensively with clients on notice adequacy and innovative legal notice programs. Lauran
has more than 20 years of experience as a professional in the marketing and advertising field, specializing in legal
notice and class action administration for the past seven years. High profile actions he has been involved in include
companies such as BP, Bank of America, Fifth Third Bank, Symantec Corporation, Lowe’s Home Centers, First Health,
Apple, TJX, CNA and Carrier Corporation. Prior to joining Epiq in 2005, Lauran was a Senior Vice President of
Marketing at National City Bank in Cleveland, Ohio. Lauran’s education includes advanced study in political science
at the University of Wisconsin-Madison along with a Ford Foundation fellowship from the Social Science Research
Council and American Council of Learned Societies. Lauran can be reached at lschultz@hilsoft.com.


                                          ARTICLES AND PRESENTATIONS


   Cameron Azari Co-Author, “A Practical Guide to Chapter 11 Bankruptcy Publication Notice.” E-book,
    published, May 2017.

   Cameron Azari Featured Speaker, “Proposed Changes to Rule 23 Notice and Scrutiny of Claim Filing
    Rates,” DC Consumer Class Action Lawyers Luncheon, December 6, 2016.

   Cameron Azari Speaker, “2016 Cybersecurity & Privacy Summit. Moving From ‘Issue Spotting’ To
    Implementing a Mature Risk Management Model.” King & Spalding, Atlanta, GA, April 25, 2016.

   Cameron Azari Speaker, “Live Cyber Incident Simulation Exercise.” Advisen’s Cyber Risk Insights
    Conference, London, UK, February 10, 2015.

   Cameron Azari Speaker, “Pitfalls of Class Action Notice and Claims Administration.” PLI's Class Action
    Litigation 2014 Conference, New York, NY, July 9, 2014.

   Cameron Azari Co-Author, “What You Need to Know About Frequency Capping In Online Class Action
    Notice Programs.” Class Action Litigation Report, June 2014.

   Cameron Azari Speaker, “Class Settlement Update – Legal Notice and Court Expectations.” PLI's 19th
    Annual Consumer Financial Services Institute Conference, New York, NY, April 7-8, 2014 and Chicago, IL,
    April 28-29, 2014.

   Cameron Azari Speaker, “Legal Notice in Consumer Finance Settlements - Recent Developments.” ACI’s
    Consumer Finance Class Actions and Litigation, New York, NY, January 29-30, 2014.

   Cameron Azari Speaker, “Legal Notice in Building Products Cases.” HarrisMartin’s Construction Product
    Litigation Conference, Miami, FL, October 25, 2013.



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 Cameron Azari Co-Author, “Class Action Legal Noticing: Plain Language Revisited.” Law360, April 2013.

 Cameron Azari Speaker, “Legal Notice in Consumer Finance Settlements Getting your Settlement
  Approved.” ACI’s Consumer Finance Class Actions and Litigation, New York, NY, January 31-February 1,
  2013.

 Cameron Azari Speaker, “Perspectives from Class Action Claims Administrators: Email Notices and
  Response Rates.” CLE International’s 8th Annual Class Actions Conference, Los Angeles, CA, May 17-18,
  2012.

 Cameron Azari Speaker, “Class Action Litigation Trends: A Look into New Cases, Theories of Liability &
  Updates on the Cases to Watch.” ACI’s Consumer Finance Class Actions and Litigation, New York, NY,
  January 26-27, 2012.

 Lauran Schultz Speaker, “Legal Notice Best Practices: Building a Workable Settlement Structure.” CLE
  International’s 7th Annual Class Action Conference, San Francisco, CA, May 2011.

 Cameron Azari Speaker, “Data Breaches Involving Consumer Financial Information: Litigation Exposures
  and Settlement Considerations.” ACI’s Consumer Finance Class Actions and Litigation, New York, NY,
  January 2011.

 Cameron Azari Speaker, “Notice in Consumer Class Actions: Adequacy, Efficiency and Best Practices.”
  CLE International’s 5th Annual Class Action Conference: Prosecuting and Defending Complex Litigation,
  San Francisco, CA, 2009.

 Lauran Schultz Speaker, “Efficiency and Adequacy Considerations in Class Action Media Notice
  Programs.” Chicago Bar Association, Chicago, IL, 2009.

 Cameron Azari Author, “Clearing the Five Hurdles of Email - Delivery of Class Action Legal Notices.”
  Thomson Reuters Class Action Litigation Reporter, June 2008.

 Cameron Azari Speaker, “Planning for a Smooth Settlement.” ACI: Class Action Defense – Complex
  Settlement Administration for the Class Action Litigator, Phoenix, AZ, 2007.

 Cameron Azari Speaker, “Noticing and Response Rates in Class Action Settlements” – Class Action Bar
  Gathering, Vancouver, British Columbia, 2007.

 Cameron Azari Speaker, “Structuring a Litigation Settlement.” CLE International’s 3rd Annual Conference
  on Class Actions, Los Angeles, CA, 2007.

 Cameron Azari Speaker, “Notice and Response Rates in Class Action Settlements” – Skadden Arps Slate
  Meagher & Flom, LLP, New York, NY, 2006.

 Cameron Azari Speaker, “Notice and Response Rates in Class Action Settlements” – Bridgeport
  Continuing Legal Education, Class Action and the UCL, San Diego, CA, 2006.

 Cameron Azari Speaker, “Notice and Response Rates in Class Action Settlements” – Stoel Rives litigation
  group, Portland, OR / Seattle, WA / Boise, ID / Salt Lake City, UT, 2005.

 Cameron Azari Speaker, “Notice and Response Rates in Class Action Settlements” – Stroock & Stroock &
  Lavan litigation group, Los Angeles, CA, 2005.

 Cameron Azari Author, “Twice the Notice or No Settlement.” Current Developments – Issue II, August 2003.

 Cameron Azari Speaker, “A Scientific Approach to Legal Notice Communication” – Weil Gotshal litigation
  group, New York, NY, 2003.



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                                                 JUDICIAL COMMENTS


Judge Charles R. Breyer, In re: Volkswagen “Clean Diesel” Marketing, Sales Practices and Products Liability
Litigation (May 17, 2017) MDL No. 2672 (N.D. Cal.):

    The Court is satisfied that the Notice Program was reasonably calculated to notify Class Members of the
    proposed Settlement. The Notice “apprise[d] interested parties of the pendency of the action and afford[ed]
    them an opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306,
    314 (1950). Indeed, the Notice Administrator reports that the notice delivery rate of 97.04% “exceed[ed] the
    expected range and is indicative of the extensive address updating and re-mailing protocols used.” (Dkt. No.
    3188-2 ¶ 24.)

Judge Joseph F. Bataillon, Klug v. Watts Regulator Company (April 13, 2017) No. 8:15-cv-00061-JFB-FG3 (D. Neb.):

    The court finds that the notice to the Settlement Class of the pendency of the Class Action and of this
    settlement, as provided by the Settlement Agreement and by the Preliminary Approval Order dated
    December 7, 2017, constituted the best notice practicable under the circumstances to all persons and entities
    within the definition of the Settlement Class, and fully complied with the requirements of Federal Rules of
    Civil Procedure Rule 23 and due process. Due and sufficient proof of the execution of the Notice Plan as
    outlined in the Preliminary Approval Order has been filed.

Judge Yvonne Gonzalez Rogers, Bias v. Wells Fargo & Company, et al. (April 13, 2017) No. 4:12-cv-00664-
YGR (N.D. Cal.):

    The form, content, and method of dissemination of Notice of Settlement given to the Settlement Class was
    adequate and reasonable and constituted the best notice practicable under the circumstances, including both
    individual notice to all Settlement Class Members who could be identified through reasonable effort and
    publication notice.

    Notice of Settlement, as given, complied with the requirements of Rule 23 of the Federal Rules of Civil
    Procedure, satisfied the requirements of due process, and constituted due and sufficient notice of the matters
    set forth herein.

    Notice of the Settlement was provided to the appropriate regulators pursuant to the Class Action Fairness
    Act, 28 U.S.C. § 1715(c)(1).

Judge Carlos Murguia, Whitton v. Deffenbaugh Industries, Inc., et al (December 14, 2016) No. 2:12-cv-02247
(D. Kan.) and Gary, LLC v. Deffenbaugh Industries, Inc., et al (December 14, 2016) No. 2:13-cv-2634 (D. Kan.):

    The Court determines that the Notice Plan as implemented was reasonably calculated to provide the best
    notice practicable under the circumstances and contained all required information for members of the
    proposed Settlement Class to act to protect their interests. The Court also finds that Class Members were
    provided an adequate period of time to receive Notice and respond accordingly.

Judge Yvette Kane, In re: Shop-Vac Marketing and Sales Practices Litigation (December 9, 2016) MDL No. 2380
(M.D. Pa.):

    The Court hereby finds and concludes that members of the Settlement Class have been provided the best
    notice practicable of the Settlement and that such notice satisfies all requirements of due process, Rule 23
    of the Federal Rules of Civil Procedure, the Class Action Fairness Act of 2005, 28 U.S.C. § 1715, and all
    other applicable laws.

Judge Timothy D. Fox, Miner v. Philip Morris USA, Inc. (November 21, 2016) No. 60CV03-4661 (Ark. Cir.):

    The Court finds that the Settlement Notice provided to potential members of the Class constituted the best
    and most practicable notice under the circumstances, thereby complying fully with due process and Rule 23
    of the Arkansas Rules of Civil Procedure.




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 Judge Eileen Bransten, In re: HSBC Bank USA, N.A., Checking Account Overdraft Litigation (October 13, 2016)
 No. 650562/2011 (Sup. Ct. N.Y.):

     This Court finds that the Notice Program and the Notice provided to Settlement Class members fully satisfied
     the requirements of constitutional due process, the N.Y. C.P.L.R., and any other applicable laws, and
     constituted the best notice practicable under the circumstances and constituted due and sufficient notice to
     all persons entitled thereto.

 Judge Jerome B. Simandle, In re: Caterpillar, Inc. C13 and C15 Engine Products Liability Litigation (September
 20, 2016) MDL No. 2540 (D. N.J.):

     The Court hereby finds that the Notice provided to the Settlement Class constituted the best notice
     practicable under the circumstances. Said Notice provided due and adequate notice of these proceedings
     and the matters set forth herein, including the terms of the Settlement Agreement, to all persons entitled to
     such notice, and said notice fully satisfied the requirements of Fed. R. Civ. P. 23, requirements of due
     process and any other applicable law.

Judge Marcia G. Cooke, Chimeno-Buzzi v. Hollister Co. and Abercrombie & Fitch Co. (April 11, 2016) No. 14-
23120 (S.D. Fla.):

     Pursuant to the Court’s Preliminary Approval Order, the Settlement Administrator, Epiq Systems, Inc. [Hilsoft
     Notifications], has complied with the approved notice process as confirmed in its Declaration filed with the
     Court on March 23, 2016. The Court finds that the notice process was designed to advise Class Members
     of their rights. The form and method for notifying Class Members of the settlement and its terms and
     conditions was in conformity with this Court’s Preliminary Approval Order, constituted the best notice
     practicable under the circumstances, and satisfied the requirements of Federal Rule of Civil Procedure
     23(c)(2)(B), the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715, and due process under the
     United States Constitution and other applicable laws.

Judge Christopher S. Sontchi, In re: Energy Future Holdings Corp, et al., (July 30, 2015) 14-10979(CSS) (Bankr.
D. Del.):

     Notice of the Asbestos Bar Date as set forth in this Asbestos Bar Date Order and in the manner set forth
     herein constitutes adequate and sufficient notice of the Asbestos Bar Date and satisfies the requirements of
     the Bankruptcy Code, the Bankruptcy Rules, and the Local Rules.

Judge David C. Norton, In re: MI Windows and Doors Inc. Products Liability Litigation (July 22, 2015) MDL No.
2333, No. 2:12-mn-00001 (D. S.C.):

    The court finds that the Notice Plan, as described in the Settlement and related declarations, has been
    faithfully carried out and constituted the best practicable notice to Class Members under the circumstances
    of this Action, and was reasonable and constituted due, adequate, and sufficient notice to all Persons entitled
    to be provided with Notice.

    The court also finds that the Notice Plan was reasonably calculated, under the circumstances, to apprise
    Class Members of: (1) the pendency of this class action; (2) their right to exclude themselves from the
    Settlement Class and the proposed Settlement; (3) their right to object to any aspect of the proposed
    Settlement (including final certification of the Settlement Class, the fairness, reasonableness, or adequacy
    of the proposed Settlement, the adequacy of the Settlement Class’s representation by Named Plaintiffs or
    Class Counsel, or the award of attorney’s and representative fees); (4) their right to appear at the fairness
    hearing (either on their own or through counsel hired at their own expense); and (5) the binding and
    preclusive effect of the orders and Final Order and Judgment in this Action, whether favorable or unfavorable,
    on all Persons who do not request exclusion from the Settlement Class. As such, the court finds that the
    Notice fully satisfied the requirements of the Federal Rules of Civil Procedure, including Federal Rule of Civil
    Procedure 23(c)(2) and (e), the United States Constitution (including the Due Process Clause), the rules of
    this court, and any other applicable law, and provided sufficient notice to bind all Class Members, regardless
    of whether a particular Class Member received actual notice.




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Judge Robert W. Gettleman, Adkins v. Nestle Purina PetCare Company, et al., (June 23, 2015) No. 12-cv-2871 (N.D. Ill.):

     Notice to the Settlement Class and other potentially interested parties has been provided in accordance with
     the notice requirements specified by the Court in the Preliminary Approval Order. Such notice fully and
     accurately informed the Settlement Class members of all material elements of the proposed Settlement and
     of their opportunity to object or comment thereon or to exclude themselves from the Settlement; provided
     Settlement Class Members adequate instructions and a variety of means to obtain additional information;
     was the best notice practicable under the circumstances; was valid, due, and sufficient notice to all
     Settlement Class members; and complied fully with the laws of the State of Illinois, Federal Rules of Civil
     Procedure, the United States Constitution, due process, and other applicable law.

Judge James Lawrence King, Steen v. Capital One, N.A. (May 22, 2015) No. 2:10-cv-01505-JCZ-KWR (E.D. La.)
and No. 1:10-cv-22058-JLK (S.D. Fla.) as part of In Re: Checking Account Overdraft Litigation, MDL 2036 (S.D. Fla.)

     The Court finds that the Settlement Class Members were provided with the best practicable notice; the notice
     was reasonably calculated, under [the] circumstances, to apprise interested parties of the pendency of the
     action and afford them an opportunity to present their objections.'' Shutts, 472 U.S. at 812 (quoting Mullane,
     339 U.S. at 314-15). This Settlement with Capital One was widely publicized, and any Settlement Class
     Member who wished to express comments or objections had ample opportunity and means to do so. Azari
     Decl. ¶¶ 30-39.

Judge Rya W. Zobel, Gulbankian et al. v. MW Manufacturers, Inc., (December 29, 2014) No. 1:10-cv-10392-RWZ
(D. Mass.):

     This Court finds that the Class Notice was provided to the Settlement Class consistent with the Preliminary
     Approval Order and that it was the best notice practicable and fully satisfied the requirements of the Federal
     Rules of Civil Procedure, due process, and applicable law. The Court finds that the Notice Plan that was
     implemented by the Claims Administrator satisfies the requirements of FED. R. CIV. P. 23, 28 U.S.C. § 1715,
     and Due Process, and is the best notice practicable under the circumstances. The Notice Plan constituted
     due and sufficient notice of the Settlement, the Final Approval Hearing, and the other matters referred to in
     the notices. Proof of the giving of such notices has been filed with the Court via the Azari Declaration and
     its exhibits.

Judge Edward J. Davila, Rose v. Bank of America Corporation, and FIA Card Services, N.A., (August 29, 2014)
No. 5:11-CV-02390-EJD; 5:12-CV-04009-EJD (N.D. Cal.):

     The Court finds that the notice was reasonably calculated under the circumstances to apprise the Settlement
     Class of the pendency of this action, all material elements of the Settlement, the opportunity for Settlement
     Class Members to exclude themselves from, object to, or comment on the settlement and to appear at the
     final approval hearing. The notice was the best notice practicable under the circumstances, satisfying the
     requirements of Rule 23(c)(2)(B); provided notice in a reasonable manner to all class members, satisfying
     Rule 23(e)(1)(B); was adequate and sufficient notice to all Class Members; and, complied fully with the laws
     of the United States and of the Federal Rules of Civil Procedure, due process and any other applicable rules
     of court.

Judge James A. Robertson, II, Wong et al. v. Alacer Corp. (June 27, 2014) No. CGC-12-519221 (Cal. Super. Ct.):

     Notice to the Settlement Class has been provided in accordance with the Preliminary Approval Order. Based
     on the Declaration of Cameron Azari dated March 7, 2014, such Class Notice has been provided in an
     adequate and sufficient manner, constitutes the best notice practicable under the circumstances and satisfies
     the requirements of California Civil Code Section 1781, California Civil Code of Civil Procedure Section 382,
     Rules 3.766 of the California Rules of Court, and due process.

Judge John Gleeson, In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
(December 13, 2013) No. 1:05-cv-03800 (E.D. NY.):

     The Class Administrator notified class members of the terms of the proposed settlement through a mailed
     notice and publication campaign that included more than 20 million mailings and publication in more than
     400 publications. The notice here meets the requirements of due process and notice standards… The
     objectors’ complaints provide no reason to conclude that the purposes and requirements of a notice to a
     class were not met here.

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Judge Lance M. Africk, Evans, et al. v. TIN, Inc., et al, (July 7, 2013) No. 2:11-cv-02067 (E.D. La.):

     The Court finds that the dissemination of the Class Notice… as described in Notice Agent Lauran Schultz’s
     Declaration: (a) constituted the best practicable notice to Class Members under the circumstances; (b)
     constituted notice that was reasonably calculated, under the circumstances…; (c) constituted notice that was
     reasonable, due, adequate, and sufficient; and (d) constituted notice that fully satisfied all applicable legal
     requirements, including Rules 23(c)(2)(B) and (e)(1) of the Federal Rules of Civil Procedure, the United
     States Constitution (including Due Process Clause), the Rules of this Court, and any other applicable law,
     as well as complied with the Federal Judicial Center’s illustrative class action notices.

Judge Edward M. Chen, Marolda v. Symantec Corporation, (April 5, 2013) No. 08-cv-05701 (N.D. Cal.):

     Approximately 3.9 million notices were delivered by email to class members, but only a very small percentage
     objected or opted out . . . The Court . . . concludes that notice of settlement to the class was adequate and
     satisfied all requirements of Federal Rule of Civil Procedure 23(e) and due process. Class members received
     direct notice by email, and additional notice was given by publication in numerous widely circulated
     publications as well as in numerous targeted publications. These were the best practicable means of
     informing class members of their rights and of the settlement’s terms.

Judge Ann D. Montgomery, In re Zurn Pex Plumbing Products Liability Litigation, (February 27, 2013)
No. 0:08cv01958 (D. Minn.):

     The parties retained Hilsoft Notifications ("Hilsoft"), an experienced class-notice consultant, to design and
     carry out the notice plan. The form and content of the notices provided to the class were direct,
     understandable, and consistent with the "plain language" principles advanced by the Federal Judicial Center.

     The notice plan's multi-faceted approach to providing notice to settlement class members whose identity is
     not known to the settling parties constitutes "the best notice [*26] that is practicable under the circumstances"
     consistent with Rule 23(c)(2)(B).

Magistrate Judge Stewart, Gessele et al. v. Jack in the Box, Inc., (January 28, 2013) No. 3:10-cv-960 (D. Or.):

     Moreover, plaintiffs have submitted [a] declaration from Cameron Azari (docket #129), a nationally
     recognized notice expert, who attests that fashioning an effective joint notice is not unworkable or unduly
     confusing. Azari also provides a detailed analysis of how he would approach fashioning an effective notice
     in this case.

Judge Carl J. Barbier, In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010
(Medical Benefits Settlement), (January 11, 2013) MDL No. 2179 (E.D. La.):

     Through August 9, 2012, 366,242 individual notices had been sent to potential [Medical Benefits] Settlement
     Class Members by postal mail and 56,136 individual notices had been e-mailed. Only 10,700 mailings—or
     3.3%—were known to be undeliverable. (Azari Decl. ¶¶ 8, 9.) Notice was also provided through an extensive
     schedule of local newspaper, radio, television and Internet placements, well-read consumer magazines, a
     national daily business newspaper, highly-trafficked websites, and Sunday local newspapers (via newspaper
     supplements). Notice was also provided in non-measured trade, business and specialty publications,
     African-American, Vietnamese, and Spanish language publications, and Cajun radio programming. The
     combined measurable paid print, television, radio, and Internet effort reached an estimated 95% of adults
     aged 18+ in the Gulf Coast region an average of 10.3 times each, and an estimated 83% of all adults in the
     United States aged 18+ an average of 4 times each. (Id. ¶¶ 8, 10.) All notice documents were designed to
     be clear, substantive, and informative. (Id. ¶ 5.)

     The Court received no objections to the scope or content of the [Medical Benefits] Notice Program. (Azari
     Supp. Decl. ¶ 12.) The Court finds that the Notice and Notice Plan as implemented satisfied the best notice
     practicable standard of Rule 23(c) and, in accordance with Rule 23(e)(1), provided notice in a reasonable
     manner to Class Members who would be bound by the Settlement, including individual notice to all Class
     Members who could be identified through reasonable effort. Likewise, the Notice and Notice Plan satisfied
     the requirements of Due Process. The Court also finds the Notice and Notice Plan satisfied the requirements
     of CAFA.




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Judge Carl J. Barbier, In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010
(Economic and Property Damages Settlement), (December 21, 2012) MDL No. 2179 (E.D. La.):

     The Court finds that the Class Notice and Class Notice Plan satisfied and continue to satisfy the applicable
     requirements of Federal Rule of Civil Procedure 23(c)(2)(b) and 23(e), the Class Action Fairness Act (28
     U.S.C. § 1711 et seq.), and the Due Process Clause of the United States Constitution (U.S. Const., amend.
     V), constituting the best notice that is practicable under the circumstances of this litigation. The notice
     program surpassed the requirements of Due Process, Rule 23, and CAFA. Based on the factual elements
     of the Notice Program as detailed below, the Notice Program surpassed all of the requirements of Due
     Process, Rule 23, and CAFA.

     The Notice Program, as duly implemented, surpasses other notice programs that Hilsoft Notifications has
     designed and executed with court approval. The Notice Program included notification to known or potential
     Class Members via postal mail and e-mail; an extensive schedule of local newspaper, radio, television and
     Internet placements, well-read consumer magazines, a national daily business newspaper, and Sunday local
     newspapers. Notice placements also appeared in non-measured trade, business, and specialty publications,
     African-American, Vietnamese, and Spanish language publications, and Cajun radio programming. The
     Notice Program met the objective of reaching the greatest possible number of class members and providing
     them with every reasonable opportunity to understand their legal rights. See Azari Decl. ¶¶ 8, 15, 68. The
     Notice Program was substantially completed on July 15, 2012, allowing class members adequate time to
     make decisions before the opt-out and objections deadlines.

     The media notice effort alone reached an estimated 95% of adults in the Gulf region an average of 10.3
     times each, and an estimated 83% of all adults in the United States an average of 4 times each. These
     figures do not include notice efforts that cannot be measured, such as advertisements in trade publications
     and sponsored search engine listings. The Notice Program fairly and adequately covered and notified the
     class without excluding any demographic group or geographic area, and it exceeded the reach percentage
     achieved in most other court-approved notice programs.

Judge Alonzo Harris, Opelousas General Hospital Authority, A Public Trust, D/B/A Opelousas General Health
System and Arklamiss Surgery Center, L.L.C. v. FairPay Solutions, Inc., (August 17, 2012) No. 12-C-1599 (27th
Jud. D. Ct. La.):

     Notice given to Class Members and all other interested parties pursuant to this Court’s order of April 18,
     2012, was reasonably calculated to apprise interested parties of the pendency of the action, the certification
     of the Class as Defined for settlement purposes only, the terms of the Settlement Agreement, Class Members
     rights to be represented by private counsel, at their own costs, and Class Members rights to appear in Court
     to have their objections heard, and to afford persons or entities within the Class Definition an opportunity to
     exclude themselves from the Class. Such notice complied with all requirements of the federal and state
     constitutions, including the Due Process Clause, and applicable articles of the Louisiana Code of Civil
     Procedure, and constituted the best notice practicable under the circumstances and constituted due and
     sufficient notice to all potential members of the Class as Defined.

Judge James Lawrence King, In re Checking Account Overdraft Litigation (IBERIABANK), (April 26, 2012) MDL
No. 2036 (S.D. Fla):

     The Court finds that the Notice previously approved was fully and properly effectuated and was sufficient to
     satisfy the requirements of due process because it described “the substantive claims . . . [and] contained
     information reasonably necessary to [allow Settlement Class Members to] make a decision to remain a
     class member and be bound by the final judgment.'' In re Nissan Motor Corp. Antitrust Litig., 552 F.2d 1088,
     1104-05 (5th Cir. 1977). The Notice, among other things, defined the Settlement Class, described the
     release as well as the amount and method and manner of proposed distribution of the Settlement proceeds,
     and informed Settlement Class Members of their rights to opt-out or object, the procedures for doing so,
     and the time and place of the Final Approval Hearing. The Notice also informed Settlement Class Members
     that a class judgment would bind them unless they opted out, and told them where they could obtain more
     information, such as access to a full copy of the Agreement. Further, the Notice described in summary form
     the fact that Class Counsel would be seeking attorneys' fees of up to 30 percent of the Settlement.
     Settlement Class Members were provided with the best practicable notice “reasonably calculated, under
     [the] circumstances, to apprise them of the pendency of the action and afford them an opportunity to present
     their objections.'' Mullane, 339 U.S. at 314. The content of the Notice fully complied with the requirements of Rule 23.


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Judge Bobby Peters, Vereen v. Lowe’s Home Centers, (April 13, 2012) SU10-CV-2267B (Ga. Super. Ct.):

     The Court finds that the Notice and the Notice Plan was fulfilled, in accordance with the terms of the
     Settlement Agreement, the Amendment, and this Court’s Preliminary Approval Order and that this Notice
     and Notice Plan constituted the best practicable notice to Class Members under the circumstances of this
     action, constituted due and sufficient Notice of the proposed Settlement to all persons entitled to participate
     in the proposed Settlement, and was in full compliance with Ga. Code Ann § 9-11-23 and the constitutional
     requirements of due process. Extensive notice was provided to the class, including point of sale notification,
     publication notice and notice by first-class mail for certain potential Class Members.

     The affidavit of the notice expert conclusively supports this Court’s finding that the notice program was
     adequate, appropriate, and comported with Georgia Code Ann. § 9-11-23(b)(2), the Due Process Clause of
     the Constitution, and the guidance for effective notice articulate in the FJC’s Manual for Complex Litigation, 4th.

Judge Lee Rosenthal, In re Heartland Payment Systems, Inc. Customer Data Security Breach Litigation, (March
2, 2012) MDL No. 2046 (S.D. Tex.):

     The notice that has been given clearly complies with Rule 23(e)(1)’s reasonableness requirement… Hilsoft
     Notifications analyzed the notice plan after its implementation and conservatively estimated that notice
     reached 81.4 percent of the class members. (Docket Entry No. 106, ¶ 32). Both the summary notice and
     the detailed notice provided the information reasonably necessary for the presumptive class members to
     determine whether to object to the proposed settlement. See Katrina Canal Breaches, 628 F.3d at 197.
     Both the summary notice and the detailed notice “were written in easy-to-understand plain English.” In re
     Black Farmers Discrimination Litig., — F. Supp. 2d —, 2011 WL 5117058, at *23 (D.D.C. 2011); accord
     AGGREGATE LITIGATION § 3.04(c).15 The notice provided “satisf[ies] the broad reasonableness standards
     imposed by due process” and Rule 23. Katrina Canal Breaches, 628 F.3d at 197.

Judge John D. Bates, Trombley v. National City Bank, (December 1, 2011) 1:10-CV-00232 (D.D.C.)

     The form, content, and method of dissemination of Notice given to the Settlement Class were in full
     compliance with the Court’s January 11, 2011 Order, the requirements of Fed. R. Civ. P. 23(e), and due
     process. The notice was adequate and reasonable, and constituted the best notice practicable under the
     circumstances. In addition, adequate notice of the proceedings and an opportunity to participate in the final
     fairness hearing were provided to the Settlement Class.

Judge Robert M. Dow, Jr., Schulte v. Fifth Third Bank, (July 29, 2011) No. 1:09-cv-6655 (N.D. Ill.):

     The Court has reviewed the content of all of the various notices, as well as the manner in which Notice was
     disseminated, and concludes that the Notice given to the Class fully complied with Federal Rule of Civil
     Procedure 23, as it was the best notice practicable, satisfied all constitutional due process concerns, and
     provided the Court with jurisdiction over the absent Class Members.

Judge Ellis J. Daigle, Williams v. Hammerman & Gainer Inc., (June 30, 2011) No. 11-C-3187-B (27th Jud. D. Ct. La.):

     Notices given to Settlement Class members and all other interested parties throughout this proceeding with
     respect to the certification of the Settlement Class, the proposed settlement, and all related procedures and
     hearings—including, without limitation, the notice to putative Settlement Class members and others more
     fully described in this Court’s order of 30th day of March 2011 were reasonably calculated under all the
     circumstances and have been sufficient, as to form, content, and manner of dissemination, to apprise
     interested parties and members of the Settlement Class of the pendency of the action, the certification of
     the Settlement Class, the Settlement Agreement and its contents, Settlement Class members’ right to be
     represented by private counsel, at their own cost, and Settlement Class members’ right to appear in Court
     to have their objections heard, and to afford Settlement Class members an opportunity to exclude
     themselves from the Settlement Class. Such notices complied with all requirements of the federal and state
     constitutions, including the due process clause, and applicable articles of the Louisiana Code of Civil
     Procedures, and constituted the best notice practicable under the circumstances and constituted due and
     sufficient notice to all potential members of the Settlement Class.




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Judge Stefan R. Underhill, Mathena v. Webster Bank, N.A., (March 24, 2011) No. 3:10-cv-1448 (D. Conn.):

     The form, content, and method of dissemination of Notice given to the Settlement Class were adequate and
     reasonable, and constituted the best notice practicable under the circumstances. The Notice, as given,
     provided valid, due, and sufficient notice of the proposed settlement, the terms and conditions set forth in
     the Settlement Agreement, and these proceedings to all persons entitled to such notice, and said notice
     fully satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure and due process.

Judge Ted Stewart, Miller v. Basic Research, LLC, (September 2, 2010) No. 2:07-cv-871 (D. Utah):

     Plaintiffs state that they have hired a firm specializing in designing and implementing large scale, unbiased,
     legal notification plans. Plaintiffs represent to the Court that such notice will include: 1) individual notice by
     electronic mail and/or first-class mail sent to all reasonably identifiable Class members; 2) nationwide paid
     media notice through a combination of print publications, including newspapers, consumer magazines,
     newspaper supplements and the Internet; 3) a neutral, Court-approved, informational press release; 4) a
     neutral, Court-approved Internet website; and 5) a toll-free telephone number. Similar mixed media plans
     have been approved by other district courts post class certification. The Court finds this plan is sufficient to
     meet the notice requirement.

Judge Sara Loi, Pavlov v. Continental Casualty Co., (October 7, 2009) No. 5:07cv2580 (N.D. Ohio):

     As previously set forth in this Memorandum Opinion, the elaborate notice program contained in the
     Settlement Agreement provides for notice through a variety of means, including direct mail to each class
     member, notice to the United States Attorney General and each State, a toll free number, and a website
     designed to provide information about the settlement and instructions on submitting claims. With a 99.9%
     effective rate, the Court finds that the notice program constituted the “best notice that is practicable under
     the circumstances,” Fed. R. Civ. P. 23(c)(2)(B), and clearly satisfies the requirements of Rule 23(c)(2)(B).

Judge James Robertson, In re Department of Veterans Affairs (VA) Data Theft Litigation, (September 23, 2009)
MDL No. 1796 (D.D.C.):

     The Notice Plan, as implemented, satisfied the requirements of due process and was the best notice
     practicable under the circumstances. The Notice Plan was reasonably calculated, under the circumstances,
     to apprise Class Members of the pendency of the action, the terms of the Settlement, and their right to
     appear, object to or exclude themselves from the Settlement. Further, the notice was reasonable and
     constituted due, adequate and sufficient notice to all persons entitled to receive notice.

Judge Lisa F. Chrystal, Little v. Kia Motors America, Inc., (August 27, 2009) No. UNN-L-0800-01 (N.J. Super. Ct.):

     The Court finds that the manner and content of the notices for direct mailing and for publication notice, as
     specified in the Notice Plan (Exhibit 2 to the Affidavit of Lauran R. Schultz), provides the best practicable
     notice of judgment to members of the Plaintiff Class.

Judge Barbara Crowder, Dolen v. ABN AMRO Bank N.V., (March 23, 2009) No. 01-L-454, 01-L-493 (3rd Jud. Cir. Ill.):

     The Court finds that the Notice Plan is the best notice practicable under the circumstances and provides
     the Eligible Members of the Settlement Class sufficient information to make informed and meaningful
     decisions regarding their options in this Litigation and the effect of the Settlement on their rights. The Notice
     Plan further satisfies the requirements of due process and 735 ILCS 5/2-803. That Notice Plan is approved
     and accepted. This Court further finds that the Notice of Settlement and Claim Form comply with 735 ILCS
     5/2-803 and are appropriate as part of the Notice Plan and the Settlement, and thus they are hereby
     approved and adopted. This Court further finds that no other notice other than that identified in the Notice
     Plan is reasonably necessary in this Litigation.

Judge Robert W. Gettleman, In re Trans Union Corp., (September 17, 2008) MDL No. 1350 (N.D. Ill.):

     The Court finds that the dissemination of the Class Notice under the terms and in the format provided for in
     its Preliminary Approval Order constitutes the best notice practicable under the circumstances, is due and
     sufficient notice for all purposes to all persons entitled to such notice, and fully satisfies the requirements of
     the Federal Rules of Civil Procedure, the requirements of due process under the Constitution of the United
     States, and any other applicable law… Accordingly, all objections are hereby OVERRULED.

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Judge Steven D. Merryday, Lockwood v. Certegy Check Services, Inc., (September 3, 2008) No. 8:07-cv-1434-T-
23TGW (M.D. Fla.):

     The form, content, and method of dissemination of the notice given to the Settlement Class were adequate
     and reasonable and constituted the best notice practicable in the circumstances. The notice as given
     provided valid, due, and sufficient notice of the proposed settlement, the terms and conditions of the
     Settlement Agreement, and these proceedings to all persons entitled to such notice, and the notice satisfied
     the requirements of Rule 23, Federal Rules of Civil Procedure, and due process.

Judge William G. Young, In re TJX Companies, (September 2, 2008) MDL No. 1838 (D. Mass.):

     The form, content, and method of dissemination of notice provided to the Settlement Class were adequate
     and reasonable, and constituted the best notice practicable under the circumstances. The Notice, as given,
     provided valid, due, and sufficient notice of the proposed settlement, the terms and conditions set forth in
     the Settlement Agreement, and these proceedings to all Persons entitled to such notice, and said Notice
     fully satisfied the requirements of Fed. R. Civ. P. 23 and due process.

Judge Philip S. Gutierrez, Shaffer v. Continental Casualty Co., (June 11, 2008) SACV-06-2235-PSG (PJWx) (C.D. Cal.):

     …was reasonable and constitutes due, adequate, and sufficient notice to all persons entitled to receive
     notice; and met all applicable requirements of the Federal Rules of Civil Procedure, the Class Action
     Fairness Act, the United States Constitution (including the Due Process Clauses), the Rules of the Court,
     and any other applicable law.

Judge Robert L. Wyatt, Gunderson v. AIG Claim Services, Inc., (May 29, 2008) No. 2004-002417 (14th Jud. D. Ct. La.):

     Notices given to Settlement Class members…were reasonably calculated under all the circumstances and
     have been sufficient, as to form, content, and manner of dissemination…Such notices complied with all
     requirements of the federal and state constitutions, including the due process clause, and applicable articles
     of the Louisiana Code of Civil Procedure, and constituted the best notice practicable under the
     circumstances and constituted due and sufficient notice to all potential members of the Settlement Class.

Judge Mary Anne Mason, Palace v. DaimlerChrysler Corp., (May 29, 2008) No. 01-CH-13168 (Ill. Cir. Ct.):

    The form, content, and method of dissemination of the notice given to the Illinois class and to the Illinois
    Settlement Class were adequate and reasonable, and constituted the best notice practicable under the
    circumstances. The notice, as given, provided valid, due, and sufficient notice of the proposed Settlement,
    the terms and conditions set forth in the Settlement Agreement, and these proceedings, to all Persons
    entitled to such notice, and said notice fully satisfied the requirements of due process and complied with
    735 ILCS §§5/2-803 and 5/2-806.
Judge David De Alba, Ford Explorer Cases, (May 29, 2008) JCCP Nos. 4226 & 4270 (Cal. Super. Ct.):

     [T]he Court is satisfied that the notice plan, design, implementation, costs, reach, were all reasonable, and
     has no reservations about the notice to those in this state and those in other states as well, including Texas,
     Connecticut, and Illinois; that the plan that was approved—submitted and approved, comports with the
     fundamentals of due process as described in the case law that was offered by counsel.

Judge Kirk D. Johnson, Webb v. Liberty Mutual Ins. Co., (March 3, 2008) No. CV-2007-418-3 (Ark. Cir. Ct.):

     The Court finds that there was minimal opposition to the settlement. After undertaking an extensive notice
     campaign to Class members of approximately 10,707 persons, mailed notice reached 92.5% of potential
     Class members.

Judge Carol Crafton Anthony, Johnson v. Progressive Casualty Ins. Co., (December 6, 2007) No. CV-2003-513
(Ark. Cir. Ct.):

     Notice of the Settlement Class was constitutionally adequate, both in terms of its substance and the manner
     in which it was disseminated…Notice was direct mailed to all Class members whose current whereabouts
     could be identified by reasonable effort. Notice reached a large majority of the Class members. The Court
     finds that such notice constitutes the best notice practicable…The forms of Notice and Notice Plan satisfy
     all of the requirements of Arkansas law and due process.

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Judge Kirk D. Johnson, Sweeten v. American Empire Insurance Co., (August 20, 2007) No. CV-2007-154-3 (Ark.
Cir. Ct.):

     The Court does find that all notices required by the Court to be given to class members was done within the
     time allowed and the manner best calculated to give notice and apprise all the interested parties of the
     litigation. It was done through individual notice, first class mail, through internet website and the toll-free
     telephone call center…The Court does find that these methods were the best possible methods to advise
     the class members of the pendency of the action and opportunity to present their objections and finds that
     these notices do comply with all the provisions of Rule 23 and the Arkansas and United States Constitutions.

Judge Robert Wyatt, Gunderson v. F.A. Richard & Associates, Inc., (July 19, 2007) No. 2004-2417-D (14th Jud. D. Ct. La.):

     This is the final Order and Judgment regarding the fairness, reasonableness and adequacy. And I am
     satisfied in all respects regarding the presentation that’s been made to the Court this morning in the Class
     memberships, the representation, the notice, and all other aspects and I’m signing that Order at this time.

Judge Lewis A. Kaplan, In re Parmalat Securities Litigation, (July 19, 2007) MDL No. 1653-LAK (S.D.N.Y.):

     The Court finds that the distribution of the Notice, the publication of the Publication Notice, and the notice
     methodology…met all applicable requirements of the Federal Rules of Civil Procedure, the United States
     Constitution, (including the Due Process clause), the Private Securities Litigation Reform Act of 1995 (15
     U.S.C. 78u-4, et seq.) (the “PSLRA”), the Rules of the Court, and any other applicable law.

Judge Joe Griffin, Beasley v. The Reliable Life Insurance Co., (March 29, 2007) No. CV-2005-58-1 (Ark. Cir. Ct.):

     [T]he Court has, pursuant to the testimony regarding the notification requirements, that were specified and
     adopted by this Court, has been satisfied and that they meet the requirements of due process. They are
     fair, reasonable, and adequate. I think the method of notification certainly meets the requirements of due
     process…So the Court finds that the notification that was used for making the potential class members
     aware of this litigation and the method of filing their claims, if they chose to do so, all those are clear and
     concise and meet the plain language requirements and those are completely satisfied as far as this Court
     is concerned in this matter.

Judge Lewis A. Kaplan, In re Parmalat Securities Litigation, (March 1, 2007) MDL No. 1653-LAK (S.D.N.Y.):

     The court approves, as to form and content, the Notice and the Publication Notice, attached hereto as
     Exhibits 1 and 2, respectively, and finds that the mailing and distribution of the Notice and the publication of
     the Publication Notice in the manner and the form set forth in Paragraph 6 of this Order…meet the
     requirements of Rule 23 of the Federal Rules of Civil Procedure, the Securities Exchange Act of 1934, as
     emended by Section 21D(a)(7) of the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-
     4(a)(7), and due process, and is the best notice practicable under the circumstances and shall constitute
     due and sufficient notice to all persons and entities entitled thereto.

Judge Anna J. Brown, Reynolds v. The Hartford Financial Services Group, Inc., (February 27, 2007) No. CV-01-
1529-BR (D. Or):

     [T]he court finds that the Notice Program fairly, fully, accurately, and adequately advised members of the
     Settlement Class and each Settlement Subclass of all relevant and material information concerning the
     proposed settlement of this action, their rights under Rule 23 of the Federal Rules of Civil Procedure, and
     related matters, and afforded the Settlement Class with adequate time and an opportunity to file objections
     to the Settlement or request exclusion from the Settlement Class. The court finds that the Notice Program
     constituted the best notice practicable under the circumstances and fully satisfied the requirements of Rule
     23 and due process.

Judge Kirk D. Johnson, Zarebski v. Hartford Insurance Company of the Midwest, (February 13, 2007) No. CV-
2006-409-3 (Ark. Cir. Ct.):

     Based on the Court’s review of the evidence admitted and argument of counsel, the Court finds and
     concludes that the Class Notice, as disseminated to members of the Settlement Class in accordance with
     provisions of the Preliminary Approval Order, was the best notice practicable under the circumstances to all
     members of the Settlement Class. Accordingly, the Class Notice and Claim Form as disseminated are

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     finally approved as fair, reasonable, and adequate notice under the circumstances. The Court finds and
     concludes that due and adequate notice of the pendency of this Action, the Stipulation, and the Final
     Settlement Hearing has been provided to members of the Settlement Class, and the Court further finds and
     concludes that the notice campaign described in the Preliminary Approval Order and completed by the
     parties complied fully with the requirements of Arkansas Rule of Civil Procedure 23 and the requirements
     of due process under the Arkansas and United States Constitutions.

Judge Richard J. Holwell, In re Vivendi Universal, S.A. Securities Litigation, 2007 WL 1490466, at *34 (S.D.N.Y.):

     In response to defendants’ manageability concerns, plaintiffs have filed a comprehensive affidavit outlining
     the effectiveness of its proposed method of providing notice in foreign countries. According to this…the
     Court is satisfied that plaintiffs intend to provide individual notice to those class members whose names and
     addresses are ascertainable, and that plaintiffs’ proposed form of publication notice, while complex, will
     prove both manageable and the best means practicable of providing notice.

Judge Samuel Conti, Ciabattari v. Toyota Motor Sales, U.S.A., Inc., (November 17, 2006) No. C-05-04289-SC (N.D. Cal.):

     After reviewing the evidence and arguments presented by the parties…the Court finds as follows…The
     class members were given the best notice practicable under the circumstances, and that such notice meets
     the requirements of the Due Process Clause of the U.S. Constitution, and all applicable statutes and rules
     of court.

Judge Ivan L.R. Lemelle, In re High Sulfur Content Gasoline Prods. Liability Litigation, (November 8, 2006) MDL
No. 1632 (E.D. La.):

     This Court approved a carefully-worded Notice Plan, which was developed with the assistance of a
     nationally-recognized notice expert, Hilsoft Notifications…The Notice Plan for this Class Settlement was
     consistent with the best practices developed for modern-style “plain English” class notices; the Court and
     Settling Parties invested substantial effort to ensure notice to persons displaced by the Hurricanes of 2005;
     and as this Court has already determined, the Notice Plan met the requirements of Rule 23 and
     constitutional due process.

Judge Catherine C. Blake, In re Royal Ahold Securities and “ERISA” Litigation, (November 2, 2006) MDL No. 1539 (D. Md.):

     The global aspect of the case raised additional practical and legal complexities, as did the parallel criminal
     proceedings in another district. The settlement obtained is among the largest cash settlements ever in a
     securities class action case and represents an estimated 40% recovery of possible provable damages. The
     notice process appears to have been very successful not only in reaching but also in eliciting claims from a
     substantial percentage of those eligible for recovery.

Judge Elaine E. Bucklo, Carnegie v. Household International, (August 28, 2006) No. 98 C 2178 (N.D. Ill.):

     [T]he Notice was disseminated pursuant to a plan consisting of first class mail and publication developed
     by Plaintiff’s notice consultant, Hilsoft Notification[s]…who the Court recognized as experts in the design of
     notice plans in class actions. The Notice by first-class mail and publication was provided in an adequate
     and sufficient manner; constitutes the best notice practicable under the circumstances; and satisfies all
     requirements of Rule 23(e) and due process.

Judge Joe E. Griffin, Beasley v. Hartford Insurance Company of the Midwest, (June 13, 2006) No. CV-2005-58-
1 (Ark. Cir. Ct.):

     Based on the Court’s review of the evidence admitted and argument of counsel, the Court finds and
     concludes that the Individual Notice and the Publication Notice, as disseminated to members of the
     Settlement Class in accordance with provisions of the Preliminarily Approval Order, was the best notice
     practicable under the circumstances…and the requirements of due process under the Arkansas and United
     States Constitutions.




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Judge Norma L. Shapiro, First State Orthopedics et al. v. Concentra, Inc., et al., (May 1, 2006) No. 2:05-CV-04951-
NS (E.D. Pa.):

     The Court finds that dissemination of the Mailed Notice, Published Notice and Full Notice in the manner set
     forth here and in the Settlement Agreement meets the requirements of due process and Pennsylvania law.
     The Court further finds that the notice is reasonable, and constitutes due, adequate, and sufficient notice to
     all persons entitled to receive notice, is the best practicable notice; and is reasonably calculated, under the
     circumstances, to apprise members of the Settlement Class of the pendency of the Lawsuit and of their right
     to object or to exclude themselves from the proposed settlement.

Judge Thomas M. Hart, Froeber v. Liberty Mutual Fire Ins. Co., (April 19, 2006) No. 00C15234 (Or. Cir. Ct.):

     The court has found and now reaffirms that dissemination and publication of the Class Notice in accordance
     with the terms of the Third Amended Order constitutes the best notice practicable under the circumstances.

Judge Catherine C. Blake, In re Royal Ahold Securities and “ERISA” Litigation, (January 6, 2006) MDL No. 1539 (D. Md.):

     I think it’s remarkable, as I indicated briefly before, given the breadth and scope of the proposed Class, the
     global nature of the Class, frankly, that again, at least on a preliminary basis, and I will be getting a final
     report on this, that the Notice Plan that has been proposed seems very well, very well suited, both in terms
     of its plain language and in terms of its international reach, to do what I hope will be a very thorough and
     broad-ranging job of reaching as many of the shareholders, whether individual or institutional, as possibly
     can be done to participate in what I also preliminarily believe to be a fair, adequate and reasonable
     settlement.

Judge Catherine C. Blake, In re Royal Ahold Securities & “ERISA” Litigation, 437 F.Supp.2d 467, 472 (D. Md. 2006):

     The court hereby finds that the Notice and Notice Plan described herein and in the Order dated January 9,
     2006 provided Class Members with the best notice practicable under the circumstances. The Notice
     provided due and adequate notice of these proceedings and the matters set forth herein, including the
     Settlement and Plan of Allocation, to all persons entitled to such notice, and the Notice fully satisfied the
     requirements of Rule 23 of the Federal Rules of Civil Procedure and the requirements of due process.

Judge Robert H. Wyatt, Jr., Gray v. New Hampshire Indemnity Co., Inc., (December 19, 2005) No. CV-2002-952-
2-3 (Ark. Cir. Ct.):

     Notice of the Settlement Class was constitutionally adequate, both in terms of its substance and the manner
     in which it was disseminated. The Notice contained the essential elements necessary to satisfy due
     process, including the Settlement Class definition, the identities of the Parties and of their counsel, a
     summary of the terms of the proposed settlement, Class Counsel’s intent to apply for fees, information
     regarding the manner in which objections could be submitted, and requests for exclusions could be filed.
     The Notice properly informed Class members of the formula for the distribution of benefits under the
     settlement…Notice was direct mailed to all Class members whose current whereabouts could be identified
     by reasonable effort. Notice was also effected by publication in many newspapers and magazines
     throughout the nation, reaching a large majority of the Class members multiple times. The Court finds that
     such notice constitutes the best notice practicable.

Judge Michael J. O’Malley, Defrates v. Hollywood Entm’t Corp., (June 24, 2005) No. 02 L 707 (Ill. Cir. Ct.):

     [T]his Court hereby finds that the notice program described in the Preliminary Approval Order and completed
     by HEC complied fully with the requirements of due process, the Federal Rules of Civil Procedure and all
     other applicable laws.

Judge Wilford D. Carter, Thibodeaux v. Conoco Phillips Co., (May 26, 2005) No. 2003-481 F (14th J.D. Ct. La.):

     Notice given to Class Members…were reasonably calculated under all the circumstances and have been
     sufficient, both as to the form and content…Such notices complied with all requirements of the federal and
     state constitutions, including the due process clause, and applicable articles of the Louisiana Code of Civil
     Procedure, and constituted the best notice practicable under the circumstances and constituted due process
     and sufficient notice to all potential members of the Class as Defined.


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Judge Michael Canaday, Morrow v. Conoco Inc., (May 25, 2005) No. 2002-3860 G (14th J.D. Ct. La.):

     The objections, if any, made to due process, constitutionality, procedures, and compliance with law,
     including, but not limited to, the adequacy of notice and the fairness of the proposed Settlement Agreement,
     lack merit and are hereby overruled.

Judge John R. Padova, Nichols v. SmithKline Beecham Corp., (April 22, 2005) No. 00-6222 (E.D. Pa.):

     Pursuant to the Order dated October 18, 2004, End-Payor Plaintiffs employed Hilsoft Notifications to design
     and oversee Notice to the End-Payor Class. Hilsoft Notifications has extensive experience in class action
     notice situations relating to prescription drugs and cases in which unknown class members need to receive
     notice…After reviewing the individual mailed Notice, the publication Notices, the PSAs and the informational
     release, the Court concludes that the substance of the Notice provided to members of the End-Payor Class
     in this case was adequate to satisfy the concerns of due process and the Federal Rules.

Judge Douglas Combs, Morris v. Liberty Mutual Fire Ins. Co., (February 22, 2005) No. CJ-03-714 (D. Okla.):

     I am very impressed that the notice was able to reach – be delivered to 97 ½ percent members of the class.
     That, to me, is admirable. And I’m also – at the time that this was initially entered, I was concerned about
     the ability of notice to be understood by a common, nonlawyer person, when we talk about legalese in a
     court setting. In this particular notice, not only the summary notice but even the long form of the notice were
     easily understandable, for somebody who could read the English language, to tell them whether or not they
     had the opportunity to file a claim.

Judge Joseph R. Goodwin, In re Serzone Products Liability Litigation, 231 F.R.D. 221, 231 (S.D. W. Va. 2005):

     The Notice Plan was drafted by Hilsoft Notifications, a Pennsylvania firm specializing in designing,
     developing, analyzing and implementing large-scale, unbiased legal notification plans. Hilsoft has
     disseminated class action notices in more than 150 cases, and it designed the model notices currently
     displayed on the Federal Judicial Center’s website as a template for others to follow…To enhance consumer
     exposure, Hilsoft studied the demographics and readership of publications among adults who used a
     prescription drug for depression in the last twelve months. Consequently, Hilsoft chose to utilize media
     particularly targeting women due to their greater incidence of depression and heavy usage of the medication.

Judge Richard G. Stearns, In re Lupron® Marketing and Sales Practice Litigation, (November 24, 2004) MDL No. 1430
(D. Mass.):

     After review of the proposed Notice Plan designed by Hilsoft Notifications…is hereby found to be the best
     practicable notice under the circumstances and, when completed, shall constitute due and sufficient notice
     of the Settlement and the Fairness Hearing to all persons and entities affected by and/or entitled to
     participate in the Settlement, in full compliance with the notice requirements of Rule 23 the Federal Rules
     of Civil Procedure and due process.

Judge Richard G. Stearns, In re Lupron® Marketing and Sales Practice Litigation, (November 23, 2004) MDL No. 1430
(D. Mass.):

     I actually find the [notice] plan as proposed to be comprehensive and extremely sophisticated and very likely
     be as comprehensive as any plan of its kind could be in reaching those most directly affected.

Judge James S. Moody, Jr., Mantzouris v. Scarritt Motor Group Inc., (August 10, 2004) No. 8:03 CV- 0015-T-30
MSS (M.D. Fla.):

     Due and adequate notice of the proceedings having been given and a full opportunity having been offered
     to the members of the Class to participate in the Settlement Hearing, or object to the certification of the
     Class and the Agreement, it is hereby determined that all members of the Class, except for Ms. Gwendolyn
     Thompson, who was the sole person opting out of the Settlement Agreement, are bound by this Order and
     Final Judgment entered herein.




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Judge Robert E. Payne, Fisher v. Virginia Electric & Power Co., (July 1, 2004) No. 3:02CV431 (E.D. Va.):

     The record here shows that the class members have been fully and fairly notified of the existence of the
     class action, of the issues in it, of the approaches taken by each side in it in such a way as to inform
     meaningfully those whose rights are affected and to thereby enable them to exercise their rights
     intelligently…The success rate in notifying the class is, I believe, at least in my experience, I share Ms.
     Kauffman’s experience, it is as great as I have ever seen in practicing or serving in this job…So I don’t
     believe we could have had any more effective notice.

Judge John Kraetzer, Baiz v. Mountain View Cemetery, (April 14, 2004) No. 809869-2 (Cal. Super. Ct.):

     The notice program was timely completed, complied with California Government Code section 6064, and
     provided the best practicable notice to all members of the Settlement Class under the circumstances. The
     Court finds that the notice program provided class members with adequate instructions and a variety of
     means to obtain information pertaining to their rights and obligations under the settlement so that a full
     opportunity has been afforded to class members and all other persons wishing to be heard…The Court has
     determined that the Notice given to potential members of the Settlement Class fully and accurately informed
     potential Members of the Settlement Class of all material elements of the proposed settlement and
     constituted valid, due, and sufficient notice to all potential members of the Settlement Class, and that it
     constituted the best practicable notice under the circumstances.

Hospitality Mgmt. Assoc., Inc. v. Shell Oil Co., 356 S.C. 644, 663, 591 S.E.2d 611, 621 (Sup. Ct. S.C. 2004):

     Clearly, the Cox court designed and utilized various procedural safeguards to guarantee sufficient notice
     under the circumstances. Pursuant to a limited scope of review, we need go no further in deciding the Cox
     court's findings that notice met due process are entitled to deference.

Judge Joseph R. Goodwin, In re Serzone Prods. Liability Litigation, 2004 U.S. Dist. LEXIS 28297, at *10
(S.D. W. Va.):

     The Court has considered the Notice Plan and proposed forms of Notice and Summary Notice submitted
     with the Memorandum for Preliminary Approval and finds that the forms and manner of notice proposed by
     Plaintiffs and approved herein meet the requirements of due process and Fed.R.Civ.P. 23(c) and (e), are
     the best notice practicable under the circumstances, constitute sufficient notice to all persons entitled to
     notice, and satisfy the Constitutional requirements of notice.

Judge James D. Arnold, Cotten v. Ferman Mgmt. Servs. Corp., (November 26, 2003) No. 02-08115 (Fla. Cir. Ct.):

     Due and adequate notice of the proceedings having been given and a full opportunity having been offered
     to the member of the Class to participate in the Settlement Hearing, or object to the certification of the Class
     and the Agreement…

Judge Judith K. Fitzgerald, In re Pittsburgh Corning Corp., (November 26, 2003) No. 00-22876-JKF (Bankr.
W.D. Pa.):

     The procedures and form of notice for notifying the holders of Asbestos PI Trust Claims, as described in the
     Motion, adequately protect the interests of the holders of Asbestos PI Trust Claims in a manner consistent
     with the principles of due process, and satisfy the applicable requirements of the Bankruptcy Code and the
     Federal Rules of Bankruptcy Procedure.

Judge Carter Holly, Richison v. American Cemwood Corp., (November 18, 2003) No. 005532 (Cal. Super. Ct.):

     As to the forms of Notice, the Court finds and concludes that they fully apprised the Class members of the
     pendency of the litigation, the terms of the Phase 2 Settlement, and Class members’ rights and options…Not
     a single Class member—out of an estimated 30,000—objected to the terms of the Phase 2 Settlement
     Agreement, notwithstanding a comprehensive national Notice campaign, via direct mail and publication
     Notice…The notice was reasonable and the best notice practicable under the circumstances, was due,
     adequate, and sufficient notice to all Class members, and complied fully with the laws of the State of
     California, the Code of Civil Procedure, due process, and California Rules of Court 1859 and 1860.



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Judge Thomas A. Higgins, In re Columbia/HCA Healthcare Corp., (June 13, 2003) MDL No. 1227 (M.D. Tenn.):

     Notice of the settlement has been given in an adequate and sufficient manner. The notice provided by
     mailing the settlement notice to certain class members and publishing notice in the manner described in the
     settlement was the best practicable notice, complying in all respects with the requirements of due process.

Judge Harold Baer, Jr., Thompson v. Metropolitan Life Ins. Co., 216 F.R.D. 55, 68 (S.D.N.Y. 2003):

     In view of the extensive notice campaign waged by the defendant, the extremely small number of class
     members objecting or requesting exclusion from the settlement is a clear sign of strong support for the
     settlement…The notice provides, in language easily understandable to a lay person, the essential terms of
     the settlement, including the claims asserted…who would be covered by the settlement…[T]he notice
     campaign that defendant agreed to undertake was extensive…I am satisfied, having reviewed the contents
     of the notice package, and the extensive steps taken to disseminate notice of the settlement, that the class
     notice complies with the requirements of Rule 23 (c)(2) and 23(e). In summary, I have reviewed all of the
     objections, and none persuade me to conclude that the proposed settlement is unfair, inadequate or
     unreasonable.

Judge Edgar E. Bayley, Dimitrios v. CVS, Inc., (November 27, 2002) No. 99-6209; Walker v. Rite Aid Corp., No.
99-6210; and Myers v. Rite Aid Corp., No. 01-2771 (Pa. Ct. C.P.):

     The Court specifically finds that: fair and adequate notice has been given to the class, which comports with
     due process of law.

Judge Dewey C. Whitenton, Ervin v. Movie Gallery, Inc., (November 22, 2002) No. 13007 (Tenn. Ch.):

     The content of the class notice also satisfied all due process standards and state law requirements…The
     content of the notice was more than adequate to enable class members to make an informed and intelligent
     choice about remaining in the class or opting out of the class.

Judge James R. Williamson, Kline v. The Progressive Corp., (November 14, 2002) No. 01-L-6 (Ill. Cir. Ct.):

     Notice to the Settlement Class was constitutionally adequate, both in terms of its substance and the manner
     in which it was disseminated. The notice contained the essential elements necessary to satisfy due
     process…

Judge Marina Corodemus, Talalai v. Cooper Tire & Rubber Co., (September 13, 2002) No. L-008830.00 (N.J.
Super. Ct.):

     Here, the comprehensive bilingual, English and Spanish, court-approved Notice Plan provided by the terms
     of the settlement meets due process requirements. The Notice Plan used a variety of methods to reach
     potential class members. For example, short form notices for print media were placed…throughout the
     United States and in major national consumer publications which include the most widely read publications
     among Cooper Tire owner demographic groups.

Judge Harold Baer, Jr., Thompson v. Metropolitan Life Ins. Co., (September 3, 2002) No. 00 Civ. 5071-HB
(S.D.N.Y.):

     The Court further finds that the Class Notice and Publication Notice provided in the Settlement Agreement
     are written in plain English and are readily understandable by Class Members. In sum, the Court finds that
     the proposed notice texts and methodology are reasonable, that they constitute due, adequate and sufficient
     notice to all persons entitled to be provided with notice, and that they meet the requirements of the Federal
     Rules of Civil Procedure (including Fed. R. Civ. P. 23(c)(2) and (e)), the United States Constitution (including
     the Due Process Clause), the Rules of the Court, and any other applicable law.

Judge Milton Gunn Shuffield, Scott v. Blockbuster Inc., (January 22, 2002) No. D 162-535 (Tex. Jud. Dist. Ct.)
ultimately withstood challenge to Court of Appeals of Texas. Peters v. Blockbuster 65 S.W.3d 295, 307 (Tex. App.-
Beaumont, 2001):

     In order to maximize the efficiency of the notice, a professional concern, Hilsoft Notifications, was retained.
     This Court concludes that the notice campaign was the best practicable, reasonably calculated, under all

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     the circumstances, to apprise interested parties of the settlement and afford them an opportunity to present
     their objections…The notice campaign was highly successful and effective, and it more than satisfied the
     due process and state law requirements for class notice.

Judge Marina Corodemus, Talalai v. Cooper Tire & Rubber Co., (October 30, 2001) No. MID-L-8839-00-MT
(N.J. Super. Ct.):

     The parties have crafted a notice program which satisfies due process requirements without reliance on an
     unreasonably burdensome direct notification process…The form of the notice is reasonably calculated to
     apprise class members of their rights. The notice program is specifically designed to reach a substantial
     percentage of the putative settlement class members.

Judge Marina Corodemus, Talalai v. Cooper Tire & Rubber Co., (October 29, 2001) No. L-8830-00-MT (N.J.
Super. Ct.):

     I saw the various bar graphs for the different publications and the different media dissemination, and I think
     that was actually the clearest bar graph I’ve ever seen in my life…it was very clear of the time periods that
     you were doing as to each publication and which media you were doing over what market time, so I think
     that was very clear.

Judge Stuart R. Pollak, Microsoft I-V Cases, (April 1, 2001) J.C.C.P. No. CJC-00-004106 (Cal. Super. Ct.):

     [C]oncerning dissemination of class notice; and I have reviewed the materials that have been submitted on
     that subject and basically I’m satisfied. I think it’s amazing if you’re really getting 80 percent coverage.
     That’s very reassuring. And the papers that you submitted responded to a couple things that had been
     mentioned before and I am satisfied with all that.

Judge Stuart R. Pollak, Microsoft I-V Cases, (March 30, 2001) J.C.C.P. No. 4106 (Cal. Super. Ct.):

     Plaintiffs and Defendant Microsoft Corporation have submitted a joint statement in support of their request
     that the Court approve the plan for dissemination of class action notice and proposed forms of notice, and
     amend the class definition. The Court finds that the forms of notice to Class members attached hereto as
     Exhibits A and B fairly and adequately inform the Class members of their rights concerning this litigation.
     The Court further finds that the methods for dissemination of notice are the fairest and best practicable
     under the circumstances, and comport with due process requirements.


                                                  LEGAL NOTICE CASES


Hilsoft Notifications has served as a notice expert for planning, implementation and/or analysis in the following partial
listing of cases:

   Andrews v. MCI (900 Number Litigation)                                  S.D. Ga., CV 191-175

   Harper v. MCI (900 Number Litigation)                                   S.D. Ga., CV 192-134

   In re Bausch & Lomb Contact Lens Litigation                             N.D. Ala., 94-C-1144-WW

   In re Ford Motor Co. Vehicle Paint Litigation                           E.D. La., MDL No. 1063

   Castano v. Am. Tobacco                                                  E.D. La., CV 94-1044

   Cox v. Shell Oil (Polybutylene Pipe Litigation)                         Tenn. Ch., 18,844

   In re Amino Acid Lysine Antitrust Litigation                            N.D. Ill., MDL No. 1083

   In re Dow Corning Corp. (Breast Implant Bankruptcy)                     E.D. Mich., 95-20512-11-AJS




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Kunhel v. CNA Ins. Companies                                         N.J. Super. Ct., ATL-C-0184-94

In re Factor Concentrate Blood Prods. Litigation
                                                                     N.D. Ill., MDL No. 986
(Hemophiliac HIV)

In re Ford Ignition Switch Prods. Liability Litigation               D. N.J., 96-CV-3125

Jordan v. A.A. Friedman (Non-Filing Ins. Litigation)                 M.D. Ga., 95-52-COL

Kalhammer v. First USA (Credit Card Litigation)                      Cal. Cir. Ct., C96-45632010-CAL

Navarro-Rice v. First USA (Credit Card Litigation)                   Or. Cir. Ct., 9709-06901

Spitzfaden v. Dow Corning (Breast Implant Litigation)                La. D. Ct., 92-2589

Robinson v. Marine Midland (Finance Charge Litigation)               N.D. Ill., 95 C 5635

McCurdy v. Norwest Fin. Alabama                                      Ala. Cir. Ct., CV-95-2601

Johnson v. Norwest Fin. Alabama                                      Ala. Cir. Ct., CV-93-PT-962-S

In re Residential Doors Antitrust Litigation                         E.D. Pa., MDL No. 1039

Barnes v. Am. Tobacco Co. Inc.                                       E.D. Pa., 96-5903

Small v. Lorillard Tobacco Co. Inc.                                  N.Y. Super. Ct., 110949/96

Naef v. Masonite Corp (Hardboard Siding Litigation)                  Ala. Cir. Ct., CV-94-4033

In re Synthroid Mktg. Litigation                                     N.D. Ill., MDL No. 1182

Raysick v. Quaker State Slick 50 Inc.                                D. Tex., 96-12610

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                                                                    D.D.C., MDL No. 1796
Litigation

Dolen v. ABN AMRO Bank N.V. (Callable CD’s)                         Ill. Cir. Ct., 01-L-454 and 01-L-493




                   PORTLAND AREA OFFICE       10300 SW ALLEN BLVD              BEAVERTON, OR 97005     T 503-597-7697
                   PHILADELPHIA AREA OFFICE   1420 LOCUST ST 30 F              PHILADELPHIA, PA 1910   T 215-721-2120
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Pavlov v. CNA (Long Term Care Insurance)                             N.D. Ohio, 5:07cv2580

Steele v. Pergo( Flooring Products)                                  D. Or., 07-CV-01493-BR

Opelousas Trust Authority v. Summit Consulting                       27th Jud. D. Ct. La., 07-C-3737-B

Little v. Kia Motors America, Inc. (Braking Systems)                 N.J. Super. Ct., UNN-L-0800-01

Boone v. City of Philadelphia (Prisoner Strip Search)                E.D. Pa., 05-CV-1851

In re Countrywide Customer Data Breach Litigation                    W.D. Ky., MDL No.1998

Miller v. Basic Research (Weight-loss Supplement)                    D. Utah, 2:07-cv-00871-TS

Gunderson v. F.A. Richard & Assocs., Inc. (Cambridge)                14th Jud. D. Ct. La., 2004-002417

Weiner v. Snapple Beverage Corporation                               S.D.N.Y., 07-CV-08742

Holk v. Snapple Beverage Corporation                                 D.N.J., 3:07-CV-03018-MJC-JJH

Coyle v. Hornell Brewing Co. (Arizona Iced Tea)                      D.N.J., 08-CV-2797-JBS-JS

In re Heartland Data Security Breach Litigation                      S.D. Tex., MDL No. 2046

Satterfield v. Simon & Schuster, Inc. (Text Messaging)               N.D. Cal., 06-CV-2893 CW

Schulte v. Fifth Third Bank (Overdraft Fees)                         N.D. Ill., 1:09-CV-06655

Trombley v. National City Bank (Overdraft Fees)                      D.D.C., 1:10-CV-00232

Vereen v. Lowe’s Home Centers (Defective Drywall)                    Ga. Super. Ct., SU10-CV-2267B

Mathena v. Webster Bank, N.A. (Overdraft Fees)                       D. Conn, 3:10-cv-01448

Delandro v. County of Allegheny (Prisoner Strip Search)              W.D. Pa., 2:06-cv-00927

Gunderson v. F.A. Richard & Assocs., Inc. (First Health)             14th Jud. D. Ct. La., 2004-002417

Williams v. Hammerman & Gainer, Inc. (Hammerman)                     27th Jud. D. Ct. La., 11-C-3187-B

Williams v. Hammerman & Gainer, Inc. (Risk Management)               27th Jud. D. Ct. La., 11-C-3187-B

Williams v. Hammerman & Gainer, Inc. (SIF Consultants)               27th Jud. D. Ct. La., 11-C-3187-B

Gwiazdowski v. County of Chester (Prisoner Strip Search)             E.D. Pa., 2:08cv4463

Williams v. S.I.F. Consultants (CorVel Corporation)                  27th Jud. D. Ct. La., 09-C-5244-C

Sachar v. Iberiabank Corporation (Overdraft Fees)                    S.D. Fla., MDL No. 2036

LaCour v. Whitney Bank (Overdraft Fees)                              M.D. Fla., 8:11cv1896

Lawson v. BancorpSouth (Overdraft Fees)                              W.D. Ark., 1:12cv1016

McKinley v. Great Western Bank (Overdraft Fees)                      S.D. Fla., MDL No. 2036




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Wolfgeher v. Commerce Bank (Overdraft Fees)                           S.D. Fla., MDL No. 2036

Harris v. Associated Bank (Overdraft Fees)                            S.D. Fla., MDL No. 2036

Case v. Bank of Oklahoma (Overdraft Fees)                             S.D. Fla., MDL No. 2036

Nelson v. Rabobank, N.A. (Overdraft Fees)                             Cal. Super. Ct., RIC 1101391

Fontaine v. Attorney General of Canada (Stirland Lake and
                                                                      Ont. Super. Ct., 00-CV-192059 CP
Cristal Lake Residential Schools)

Opelousas General Hospital Authority v. FairPay Solutions             27th Jud. D. Ct. La., 12-C-1599-C

Marolda v. Symantec Corporation (Software Upgrades)                   N.D. Cal., 3:08-cv-05701

In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010—Economic and Property                    E.D. La., MDL No. 2179
Damages Settlement
In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf
                                                                      E.D. La., MDL No. 2179
of Mexico, on April 20, 2010—Medical Benefits Settlement
Vodanovich v. Boh Brothers Construction (Hurricane
                                                                      E.D. La., 05-cv-4191
Katrina Levee Breaches)

Gessele et al. v. Jack in the Box, Inc.                               D. Or., No. 3:10-cv-960

RBS v. Citizens Financial Group, Inc. (Overdraft Fees)                S.D. Fla., MDL No. 2036

Mosser v. TD Bank, N.A. (Overdraft Fees)                              S.D. Fla., MDL No. 2036

In re Payment Card Interchange Fee and Merchant Discount
                                                                      E.D.N.Y., MDL No. 1720
Antitrust Litigation (Mastercard & Visa)

Saltzman v. Pella Corporation (Building Products)                     N.D. Ill., 06-cv-4481

In re Zurn Pex Plumbing, Products Liability Litigation                D. Minn., MDL No. 1958

Blahut v. Harris, N.A. (Overdraft Fees)                               S.D. Fla., MDL No. 2036

Eno v. M & I Marshall & Ilsley Bank (Overdraft Fees)                  S.D. Fla., MDL No. 2036

Casayuran v. PNC Bank (Overdraft Fees)                                S.D. Fla., MDL No. 2036

Anderson v. Compass Bank (Overdraft Fees)                             S.D. Fla., MDL No. 2036

Evans, et al. v. TIN, Inc. (Environmental)                            E.D. La., 2:11-cv-02067

Opelousas General Hospital Authority v. Qmedtrix
                                                                      27th Jud. D. Ct. La., 12-C-1599-C
Systems, Inc.

Williams v. SIF Consultants of Louisiana, Inc. et al.                 27th Jud. D. Ct. La., 09-C-5244-C

Miner v. Philip Morris Companies, Inc. et al.                         Ark. Cir. Ct., 60CV03-4661

Fontaine v. Attorney General of Canada (Mistassini Hostels            Qué. Super. Ct., 500-06-000293-056 &
Residential Schools)                                                  No. 550-06-000021-056 (Hull)

Glube et al. v. Pella Corporation et al. (Building Products)          Ont. Super. Ct., CV-XX-XXXXXXX-00CP



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Yarger v. ING Bank                                                   D. Del., 11-154-LPS

Price v. BP Products North America                                   N.D. Ill, 12-cv-06799

National Trucking Financial Reclamation Services, LLC et
                                                                     E.D. Ark., 4:13-cv-00250-JMM
al. v. Pilot Corporation et al.

Johnson v. Community Bank, N.A. et al. (Overdraft Fees)              M.D. Pa., 3:12-cv-01405-RDM

Rose v. Bank of America Corporation, et al. (TCPA)                   N.D. Cal., 11-cv-02390-EJD

McGann, et al., v. Schnuck Markets, Inc. (Data Breach)               Mo. Cir. Ct., 1322-CC00800

Simmons v. Comerica Bank, N.A. (Overdraft Fees)                      S.D. Fla., MDL No. 2036

George Raymond Williams, M.D., Orthopedic Surgery, a
                                                                     27th Jud. D. Ct. La., 09-C-5242-B
Professional Medical, LLC, et al. v. Bestcomp, Inc., et al.

Simpson v. Citizens Bank (Overdraft Fees)                            E.D. Mich, 2:12-cv-10267

In re Plasma-Derivative Protein Therapies Antitrust
                                                                     N.D. Ill, 09-CV-7666
Litigation

In re Dow Corning Corporation (Breast Implants)                      E.D. Mich., 00-X-0005

Mello et al v. Susquehanna Bank (Overdraft Fees)                     S.D. Fla., MDL No. 2036

Wong et al. v. Alacer Corp. (Emergen-C)                              Cal. Super. Ct., CGC-12-519221

In re American Express Anti-Steering Rules
                                                                     E.D.N.Y., 11-MD-2221, MDL No. 2221
Antitrust Litigation (II) (Italian Colors Restaurant)

Costello v. NBT Bank (Overdraft Fees)                                Sup. Ct. Del Cnty., N.Y., 2011-1037

Gulbankian et al. v. MW Manufacturers, Inc.                          D. Mass., No. 10-CV-10392

Hawthorne v. Umpqua Bank (Overdraft Fees)                            N.D. Cal., 11-cv-06700-JST

                                                                     Civil D. Ct., Parish of Orleans, La., 2005-
Smith v. City of New Orleans
                                                                     05453

Adkins et al. v. Nestlé Purina PetCare Company et al.                N.D. Ill., 1:12-cv-02871

Given v. Manufacturers and Traders Trust Company a/k/a
                                                                     S.D. Fla., MDL No. 2036
M&T Bank (Overdraft Fees)
In re MI Windows and Doors Products Liability Litigation
                                                                     D. S.C., MDL No. 2333
(Building Products)

Childs et al. v. Synovus Bank, et al. (Overdraft Fees)               S.D. Fla., MDL No. 2036

Steen v. Capital One, N.A. (Overdraft Fees)                          S.D. Fla., MDL No. 2036

                                                                     12th Jud. Cir. Ct., Sarasota Cnty, Fla.,
Kota of Sarasota, Inc. v. Waste Management Inc. of Florida
                                                                     2011-CA-008020NC
In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010—Economic and Property                   E.D. La., MDL No. 2179
Damages Settlement (Claim Deadline Notice)




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Dorothy Williams d/b/a Dot’s Restaurant v. Waste Away                  Cir. Ct., Lawrence Cnty, Ala., 42-cv-2012-
Group, Inc.                                                            900001.00

In re: Energy Future Holdings Corp., et al. (Asbestos Claims
                                                                       Bankr. D. Del., 14-10979(CSS)
Bar Notice)

Gattinella v. Michael Kors (USA), Inc., et al.                         S.D.N.Y., 14-civ-5731 (WHP)

Kerry T. Thibodeaux, M.D. (A Professional Medical
                                                                       27th Jud. D. Ct. La., 13-C-3212
Corporation) v. American Lifecare, Inc.

Ono v. Head Racquet Sports USA                                         C.D.C.A., 2:13-cv-04222-FMO(AGRx)

Opelousas General Hospital Authority v. PPO Plus, L.L.C.,
                                                                       27th Jud. D. Ct. La., 13-C-5380
et al.

In re: Shop-Vac Marketing and Sales Practices Litigation               M.D. Pa., MDL No. 2380

In re: Caterpillar, Inc. C13 and C15 Engine Products Liability
                                                                       D. N.J., MDL No. 2540
Litigation

In Re: Citrus Canker Litigation                                        11th Jud. Cir., Flo., No. 03-8255 CA 13

Whitton v. Deffenbaugh Industries, Inc., et al.                        D. Kan., 2:12-cv-02247
Gary, LLC v. Deffenbaugh Industries, Inc., et al.                      D. Kan., 2:13-cv-2634

Swift v. BancorpSouth Bank (Overdraft Fees)                            N.D. Fla., No. 1:10-cv-00090

                                                                       Sup. Ct.Conn., X10-UWY-CV-12-
Forgione v. Webster Bank N.A. (Overdraft Fees)
                                                                       6015956-S

Small v. BOKF, N.A.                                                    D. Col., 13-cv-01125

Anamaria Chimeno-Buzzi & Lakedrick Reed v. Hollister Co.
                                                                       S.D. Fla., 14-cv-23120-MGC
& Abercrombie & Fitch Co.

In re: HSBC Bank USA, N.A., Checking Account Overdraft
                                                                       Sup. Ct. N.Y., No. 650562/11
Litigation

In re: Volkswagen “Clean Diesel” Marketing, Sales Practices
                                                                       N.D. Cal., MDL No. 2672
and Product Liability Litigation (Bosch)

Hawkins v. First Tennessee Bank, N.A., et al. (Overdraft
                                                                       13th Jud. Cir. Tenn., No. CT-004085-11
Fees)

Greater Chautauqua Federal Credit Union v. Kmart Corp., et
                                                                       N.D. Ill., No. 1:15-cv-02228
al. (Data Breach)

Bias v. Wells Fargo & Company, et al. (Broker’s Price
                                                                       N.D. Cal., No 4:12-cv-00664-YGR
Opinions)

Klug v. Watts Regulator Company (Product Liability)                    D. Neb., No. 8:15-cv-00061-JFB-FG3

Ratzlaff v. BOKF, NA d/b/a Bank of Oklahoma, et al. (Overdraft
                                                                       Dist. Ct. Okla., No. CJ-2015-00859
Fees)

Morton v. Greenbank (Overdraft Fees)                                   20th Jud. Dist. Tenn., No. 11-135-IV

Jacobs, et al. v. Huntington Bancshares Inc., et al. (FirstMerit
                                                                       Ohio C.P., No. 11CV000090
Overdraft Fees)



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Farnham v. Caribou Coffee Company, Inc. (TCPA)                       W.D. Wis., No. 16-cv-00295-WMC

Gottlieb v. Citgo Petroleum Corporation (TCPA)                       S.D. Fla., No. 9:16-cv-81911

McKnight v. Uber Technologies, Inc.                                  N.D. Cal., No 3:14-cv-05615-JST

Lewis v. Flue-Cured Tobacco Cooperative Stabilization                N.C. Gen. Ct of Justice, Sup. Ct. Div., No.
Corporation (n/k/a United States Tobacco Cooperative, Inc.)          05 CVS 188, No. 05 CVS 1938

T.A.N. v. PNI Digital Media, Inc.                                    S.D. GA., No. 2:16-cv-132-LGW-RSB.

In re: Syngenta Litigation                                           4th Jud. Dist. Minn., No. 27-CV-15-3785

The Financial Oversight and Management Board for Puerto
Rico as representative of Puerto Rico Electric Power Authority       D. Puerto Rico, No. 17-04780(LTS)
(“PREPA”) (Bankruptcy)

Callaway v. Mercedes-Benz USA, LLC (Seat Heaters)                    C.D. Cal., No 14-cv-02011 JVS

In re: Takata Airbag Products Liability Litigation (OEMs –
                                                                     S.D. Fla, MDL No. 2599
BMW, Mazda, Subaru, Toyota, Honda, and Nissan)

                                                                                                       Hilsoft-cv-141




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Gergetz v. Telenav, Inc.
Settlement Administrator
PO Box 2995
Portland, OR 97208­2995



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                                                                                  July 3, 2018




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Komraus, Kathleen

From:                                mail@msgbsvc.com on behalf of noreply_TelenavTCPASettlement
Sent:                                Thursday, May 31, 2018 9:53 AM
To:
Subject:                             HTML Sample -- Notice of Class Action Settlement – Gergetz v. Telenav, Inc.



CAUTION: This email originated from outside of Epiq. Do not click links or open attachments unless you recognize the sender and
know the content is safe.


                                   NOTICE OF CLASS ACTION SETTLEMENT

                             Gergetz v. Telenav, Inc., No. 5:16-CV-4261-BLF (N.D. Cal.)

                                IF YOU RECEIVED A TEXT MESSAGE
                       FROM A TELENAV PHONE NUMBER, YOU COULD RECEIVE
                          A PAYMENT FROM A CLASS ACTION SETTLEMENT.

                For complete information, visit www.TelenavTCPASettlement.com or call 1-877-646-9240.
                                Para ver este aviso en español, visite www.TelenavTCPASettlement.com.

     A Federal Court authorized this notice. You are not being sued. This is not a solicitation from a lawyer.

A Settlement has been reached in a class action lawsuit against Telenav, Inc. (“Telenav”), Gergetz v. Telenav,
Inc., Case No. 5:16-CV-4261-BLF, pending in the U.S. District Court for the Northern District of California,
San Jose Division. The Court has preliminarily approved the Settlement, which could impact your legal rights,
whether you act or not. This is only a summary of the Full Notice. Visit www.TelenavTCPASettlement.com to
read the Full Notice, submit a Claim Form, and view important court dates and documents.

              Nature of the Action. The lawsuit alleges that Telenav sent text messages to cellphones in
violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq. The Class Representative claims
that Telenav sent text messages encouraging recipients to download its “Scout App” to cellphone users who
never provided prior express consent. The Class Representative also claims that Telenav continued sending text
messages to cellphone users who had responded with a “STOP” or similar command to prior messages, and that
the subsequent messages went beyond merely confirming the opt-out request. Telenav denies the allegations
and that it violated any laws, and it asserts several defenses. The Court has not determined who is right. Rather,
the Parties have agreed to settle the lawsuit to avoid the uncertainties and expenses associated with ongoing
litigation.

             Why am I Receiving This Email? Our records show you may be a member of the “Settlement
Class.” You are in the Settlement Class if you resided in the United States and received a text message between
July 28, 2012 and March 5, 2018 (a) that included a link to http://scoutgps.com and the language “Download
Scout to send notifications,” “Connect with [NAME] by downloading Scout,” “To see [NAME]’s progress and
communicate, download Scout,” or “Welcome to Scout! [NAME] is using Scout to talk about, plan, and
navigate to Meet Ups,” (the “No Consent Subclass”); or (b) you received at least one additional text message
other than a message confirming an opt-out request after replying STOP, QUIT, END, CANCEL, or
UNSUBSCRIBE to any text message received from any Telenav Number (the “STOP Subclass”). The full list
of Telenav Numbers for purposes of this Settlement can be found in the Full Notice available at
www.TelenavTCPASettlement.com. You may be a member of both subclasses.
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               What Can I Get Out of the Settlement? If you’re eligible and the Court approves the Settlement,
you could receive a cash payment. Telenav has agreed to fund a Settlement Fund of $3,500,000 U.S. dollars.
The cost to send notice to the Settlement Class and administer the Settlement (estimated to be approximately
$240,000 USD), as well as any award of reasonable attorneys’ fees and expenses (no more than one-third of the
Settlement Fund) and any Incentive Award of no more than $5,000 to the Class Representative will come out of
this amount. The amount remaining after deducting these amounts (the "Net Settlement Fund") will be used to
pay the claims of eligible Settlement Class Members who submit valid claims. Settlement Class Members who
file valid claims and who are part of the No Consent Subclass according to Telenav's records will be eligible to
receive One (1) Unit from the Net Settlement Fund. Settlement Class Members who file valid claims and who
are part of the STOP Subclass according to Telenav's records will be eligible to receive Five (5) Units from the
Net Settlement Fund. Settlement Class Members who file valid claims and are members of both Subclasses will
be eligible to receive a total of Six (6) Units from the Net Settlement Fund. All Units will be equal, and no Unit
may exceed $1,500. If any money remains after these disbursements, it will be donated to a cy pres recipient
approved by the Court.

              What are My Options? If you are a member of the Settlement Class as described above, your
legal rights are affected, and you have several options: (1) Submit a Claim: You may submit a Claim Form
here or download the form and submit it by mail—either way by no later than August 28, 2018. Include your
Settlement Class Member ID: 222637E29. The information you provide to the Settlement Administrator will
be used only to administer the Settlement. (2) Do Nothing: You will not receive a payment, but you will be
bound by the Court’s Orders and Judgment and give up your right to sue Telenav and certain other persons and
entitles about the legal claims resolved by the Settlement. (3) Exclude Yourself: Keep the right to sue Telenav
about the legal claims resolved by the Settlement, but you will not receive payment from this Settlement. To
request exclusion, you must mail a signed statement that says “I wish to be excluded from the Settlement in
Gergetz v. Telenav, Inc., Case No. 5:16-CV-4261-BLF” to the Settlement Administrator, postmarked by
August 16, 2018. Specific information is available at www.TelenavTCPASettlement.com. (4) Object/Request
to Appear: Write to the Court and say why you don’t like the Settlement and/or request permission to speak at
the Final Approval Hearing by August 16, 2018. The Court will hold a Final Approval Hearing at 1:30 p.m.
PDT on September 6, 2018, before the Honorable Beth Labson Freeman in Courtroom 3, 5th Floor, Robert F.
Peckham Federal Building & United States Courthouse, 280 South 1st Street, San Jose, CA 95113. The Court
will consider whether the proposed Settlement is fair, reasonable, and adequate and whether to approve the
attorneys’ fees and costs to Class Counsel and an Incentive Award to the Class Representative, and consider
objections, if any. The motion for attorneys’ fees and costs will be posted on the website after it is filed.

             Who Represents Me? The Court has appointed Steven Woodrow and Patrick Peluso of Woodrow
& Peluso, LLC, and Stefan Coleman of the Law Offices of Stefan Coleman, P.A., to be the attorneys
representing the Settlement Class. They are called “Class Counsel.” You may hire your lawyer at your own
expense.

              When Will the Court Approve the Settlement? The Court will hold a Final Approval Hearing
on September 6, 2018 at 1:30 p.m. PDT at the Robert F. Peckham Federal Building & United States
Courthouse, Courtroom 3, 5th Floor, 280 South 1st Street, San Jose, CA 95113. The Court will hear objections,
determine if the Settlement is fair, and consider Class Counsel’s request for fees and expenses and an Incentive
Award to the Class Representative. These requests will be posted on the Settlement Website.

             How Do I Get More Information? For more information about the proposed Settlement and a
copy of the Full Notice and Claim Form, go to www.TelenavTCPASettlement.com, contact the Settlement
Administrator at 1-877-646-9240 or Settlement Administrator, Gergetz v. Telenav, Inc., P.O. Box 2995,
Portland, OR 97208-2995; or call Class Counsel at 1-720-213-0676.

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Please note: This e-mail message was sent from a notification-only address that cannot accept incoming e-mail.
Please do not reply to this message.



If you would prefer not to receive further messages from this sender, please Click Here and confirm your request.




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                TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS PARA EL
                          DISTRITO NORTE DE CALIFORNIA

  Si usted recibió un mensaje de texto de un
número de teléfono de Telenav, podría recibir un
pago de una Conciliación de demanda colectiva.
         Un Tribunal federal autorizó este aviso. No se trata del ofrecimiento de un abogado.
    Se ha llegado a una Conciliación en un litigio por demanda colectiva para determinar si Telenav,
     Inc. (“Telenav”) envió mensajes de texto a usuarios de teléfono celular que no dieron su
     consentimiento para recibir dichos mensajes y/o mensajes después de que los usuarios respondieran
     con “STOP” (PARAR) o un comando similar (diferente a un mensaje de texto que confirmaba la
     solicitud de exclusión). Telenav se denominará en adelante el “Demandado”.

    Las personas incluidas en la Conciliación que presenten Formularios de reclamo válidos podrán
     recibir un pago del Fondo de la Conciliación, que suma $3,500,000 en total. El monto real de los
     pagos se basará en la cantidad de Formularios de reclamo válidos enviados, costos administrativos
     y cualquier Compensación incentiva y honorarios y gastos de abogados aprobados por el Tribunal.

    Lea este aviso detenidamente. Independientemente de que usted actúe o no, sus derechos legales se
     verán afectados.


                SUS DERECHOS Y OPCIONES LEGALES EN ESTE ACUERDO
    PRESENTAR UN FORMULARIO            Esta es la única forma de recibir un pago del Fondo de la
    DE RECLAMO                         Conciliación.
                                       No recibirá beneficios, pero conservará cualquier derecho que
    EXCLUIRSE                          tenga actualmente de presentar una demanda contra el
                                       Demandado sobre los reclamos de este caso.

    OBJETAR                            Escribir al Tribunal para explicar el motivo por el cual no le
                                       satisface la Conciliación.

    PARTICIPAR EN LA AUDIENCIA         Solicitar que usted o su abogado puedan hablar en el Tribunal
                                       sobre su opinión de la Conciliación.
                                       Usted no recibirá un pago del Fondo de la Conciliación y
    NO HACER NADA                      renunciará a su derecho a demandar al Demandado por las
                                       reclamaciones exentas por el Acuerdo de conciliación.

Estos derechos y opciones, y las fechas límite para ejercerlos, se explican en este Aviso. Para obtener
información     completa     del    asunto,    consulte    el    Acuerdo      de     conciliación    en
www.TelenavTCPASettlement.com o llame al 1-877-646-9240.




    Llame al 1-877-646-9240 para comunicarse con el Administrador de la Conciliación y al
       1-720-213-0676 para comunicarse con los Abogados del Grupo de demandantes.
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                                         INFORMACIÓN BÁSICA
 1. ¿Por qué se emitió este Aviso?

Un Tribunal ordenó el envío de este aviso porque usted tiene derecho a conocer acerca de la Conciliación
propuesta de esta demanda colectiva y sobre todas sus opciones antes de que el Tribunal decida si le dará la
aprobación final a la Conciliación. Este Aviso le explica la demanda, la Conciliación y sus derechos legales.
El juez S. Beth L. Freeman, del Tribunal de Distrito de los Estados Unidos para el Distrito Norte de California,
está a cargo de este caso. El caso se denomina Gergetz v. Telenav, Inc., caso n.º 5:16-CV-4261-BLF. El Sr.
Gergetz, la persona que presentó la demanda, se denomina el Demandante/Representante del Grupo de la
Conciliación. La compañía a la que demandaron, Telenav, se le conoce como Demandado.

 2. ¿Qué es una demanda colectiva?

En una demanda colectiva, una o más personas, conocidas como representantes del grupo de demandantes
(en este caso, Nathan Gergetz), presentan una demanda en representación de un colectivo o de un “grupo”
de personas que tienen reclamos similares. En una demanda colectiva, el tribunal resuelve los asuntos para
todos los miembros del grupo de demandantes, excepto para quienes se hayan excluido del grupo de
demandantes.

 3. ¿De qué trata esta demanda?

En esta demanda se alega que Telenav envió mensajes de texto a teléfonos celulares en infracción de la Ley
de Protección al Consumidor Telefónico (Telephone Consumer Protection Act), art. 227, título 47, U.S.C.
El Representante del Grupo de la Conciliación reclama que Telenav envió mensajes de texto invitando a los
destinatarios a descargar la aplicación móvil “Scout” a usuarios de teléfono celular que nunca dieron su
consentimiento expreso antes indicado. El Representante del Grupo de la Conciliación también reclama que
Telenav continuó enviando mensajes de texto a usuarios de teléfono celular que habían respondido con
“STOP” (PARAR) o un comando similar a mensajes previos y que los mensajes posteriores iban más allá
de simplemente confirmar la solicitud de exclusión. Telenav niega lo alegatos, niega que haya infringido la
ley, y ha afirmado diferentes defensas.
El Tribunal no ha determinado quién tiene razón. En su lugar, las partes han decidido llegar a una
conciliación en relación con la demanda para evitar las incertidumbres y los gastos asociados con el litigio
en curso.

 4. ¿Por qué existe una Conciliación?

El Tribunal no ha decidido si debe ganar este caso el Demandante o el Demandado. En lugar de eso, las
dos partes involucradas llegaron a una Conciliación. De esa manera, evitan la incertidumbre y los gastos
asociados con el litigio en curso y los miembros del Grupo de la Conciliación obtendrán una compensación
en la actualidad, en lugar de obtenerla, en caso de que ganaran, luego de varios años.

                      ¿QUIÉNES ESTÁN INCLUIDOS EN LA CONCILIACIÓN?
 5. ¿Cómo sé si formo parte del Grupo de la Conciliación?

Usted está en el Grupo de la Conciliación si se aplica una de las siguientes condiciones:
Subgrupo de Sin consentimiento: Usted es un miembro si residió en los Estados Unidos y, entre el 28
de julio de 2012 y el 5 de marzo de 2018, recibió como mínimo un mensaje de texto que incluía un enlace

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       1-720-213-0676 para comunicarse con los Abogados del Grupo de demandantes.
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a http://scoutgps.com y el mensaje “Download Scout to send notifications” (Descargue Scout para enviar
notificaciones), “Conect with [NAME] by downloading Scout” (Conéctese con [NOMBRE] al descargar
Scout), “To see [NAME]’s progress and communicate, download Scout” (Para ver el progreso de
[NOMBRE] y comunicarse con él/ella, descargue Scout), o “Welcome to Scout! [NAME] is using Scout
to talk about, plan, and navigate to Meet Ups” (Bienvenido a Scout, [NOMBRE] está usando Scout para
hablar, planificar y navegar a reuniones).
Subgrupo de PARAR: Usted es miembro si residió en los Estados Unidos, y entre el 28 de julio de 2012
y el 5 de marzo de 2018, recibió como mínimo un mensaje de texto adicional diferente a un mensaje que
confirma una solicitud de exclusión después de responder STOP (PARAR), QUIT (FINALIZAR), END
(TERMINAR), CANCEL (CANCELAR) O UNSUBSCRIBE (CANCELAR SUSCRIPCIÓN) a
cualquier mensaje de texto recibido de cualquier número de Telenav que se indica a continuación:
      72711, 6503535354, 14083260909, 4086281466, 18014471740, 4083260964, 4083891019,
    4083891173, 4082146704, 4083728950, 4083891081, 4082170339, 4082605166, 8014471447,
    4082605082, 4084795509, 4084795512, 7205072688, 5172688155, 4243486284, 5172688785,
    9792726889, 4086281090, 5172688529, 5172688473, 5172688212, 5172688220, 4086281591,
    5108086289, 9495372688, 5614086284, 7862882682, 5172688596, 8628814294, 5172688830,
    4086281619, 7194198628, 9792726881, 5172688702, 2018972688, 5172688222, 5172688602,
    8643726888, 4243486282, 8327862844, 4086281626, 5172688827, 9792726887, 4243486289,
    4086281609, 8175672688, 4086281079, 5172688152, 5172688831, 9792726885, 5172688603,
    2018172688, 4086281615, 9093286285, 5172688576, 6143672688, 8628814129, 9792726884,
    6467986288, 9792726882, 4086281469, 6506678628, 4136486286, 5172688026, 9792726883,
    5039286281, 4243486283, 4086281777, 9792726888, 9792726880, 5172688796, 8176972688,
    4084795554, 4084795518, 4084792930, 4084795524, 4084795552, 4084795531, 4084795521,
    4082170170, 4084792931, 4084795502, 4084795523, 4084795550, 8282660066, 4084795522,
    4084795529, 4084795527, 4084795534, 4084795519, 4084792935, 4084795526, 4084792934,
    6502048134, 4086693631, 6693337361, 6503532889, 6693337460, 6503977110, 2246623018,
    6505675793, 6503186344, 6698001276, 4432821010, 4085121115, 6693335868, 6503999737,
    6509004743, 4084740384, 4084712757, 4084740437, 6503535880, 4084796187, 4084782420,
    4084703794, 4084771550, 4084796046, 4084789302, 4084789117, 6674018988, 4087097688,
    8566660818, 4086062881, 4088192661, 6692383666, 4086889159, 6693335969, 4087676901,
                                         6693335955.
Para obtener una definición completa del Grupo de la Conciliación, consulte el Acuerdo de conciliación,
que puede obtener comunicándose con el Administrador de la Conciliación o los Abogados del Grupo de
demandantes o haciendo clic en el enlace de “Acuerdo de conciliación” que está bajo la “Pestaña de
documentos     importantes”    en     el   sitio    web     de    la   Conciliación,    ubicada      en
www.TelenavTCPASettlement.com.

                              LOS BENEFICIOS DE LA CONCILIACIÓN
 6. ¿Qué estipula la Conciliación?

La Conciliación dispone que Telenav pagará $3,500,000 dólares estadounidenses (el “Fondo de la
Conciliación”) a la Cuenta bancaria de la Conciliación. El costo de enviar avisos al Grupo de la Conciliación
y administrar la Conciliación, así como los honorarios y gastos de abogado aprobados por el Tribunal, y un
pago autorizado por el Tribunal al Representante del Grupo de la Conciliación saldrá de este monto (consulte
la Pregunta 13). El monto restante después de deducir estas sumas (el “Fondo de la Conciliación neto”) se
utilizará para pagar las reclamaciones de Miembros del Grupo de la Conciliación elegibles que presenten
Formulario de reclamo válidos.

    Llame al 1-877-646-9240 para comunicarse con el Administrador de la Conciliación y al
       1-720-213-0676 para comunicarse con los Abogados del Grupo de demandantes.
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Los Miembros del Grupo de la Conciliación que presenten Formularios de reclamo válidos y formen parte
del Subgrupo de Sin consentimiento conforme a los registros de Telenav podrán recibir una (1) Unidad
de compensación a partir del Fondo de la Conciliación Neto, hasta un máximo de $1,500.00 USD. Los
Miembros del Grupo de la Conciliación que presentan Formularios de reclamo válidos y forman parte del
Subgrupo de PARAR conforme a registros de Telenav serán elegibles para recibir cinco (5) Unidades de
compensación a partir del Fondo de la Conciliación Neto, hasta un máximo de $7,500 USD. Los Miembros
del Grupo de la Conciliación que presentan Formularios de reclamo válidos y son miembros de ambos
Subgrupos serán elegibles para recibir un total de seis (6) Unidades de compensación a partir del Fondo
de la Conciliación Neto, hasta un máximo de $9,000 USD. Todas las Unidades de la Compensación serán
de valor equivalente, y el valor real de cada Unidad de Compensación dependerá de la cantidad de
Formularios de reclamo válidos presentados y aprobados.

 7. ¿A cuánto ascenderá mi pago?

Si usted es miembro del Grupo de la Conciliación y el Tribunal otorga una aprobación final de la
Conciliación, usted puede tener derecho a recibir un Cheque de la Conciliación por un valor equivalente
al valor de la cantidad de Unidades de Compensación que usted pueda recibir. La cantidad exacta de su
pago no se puede calcular en este momento. Su pago dependerá de la cantidad total de Formularios de
reclamo válidos enviados, el costo del aviso a los Miembros del Grupo de la Conciliación y administración
de la Conciliación, y cualquier Compensación incentiva al Representante del Grupo de la Conciliación y
reconocimiento de honorarios y gastos de abogados de los Abogados del Grupo de demandantes.
Cualquier monto restante en el Fondo de la Conciliación después del desembolso de estos montos se
pagará a un Beneficiario cercano aprobado por el Tribunal. Se estima que el Grupo de la Conciliación
incluya aproximadamente 200,000 usuarios de teléfono celular.
Usted solo puede hacer un reclamo por número de teléfono celular, independientemente de la cantidad de
mensajes recibidos.

 8. ¿Cuándo recibiré mi pago?

Debería recibir un cheque del Administrador de la Conciliación en un plazo de entre 60 y 90 días
posteriores a que se haya aprobado definitivamente la Conciliación o posteriores a la resolución de las
apelaciones en favor de la Conciliación. La audiencia para considerar la imparcialidad final de la
Conciliación se llevará a cabo ante el honorable Beth Labson Freeman en Courtroom 3, Fifth Floor, Robert
F. Peckham Federal Building and United States Courthouse, 280 South 1st Street, San José, CA 95113,
programada para el 6 de septiembre de 2018. Todos los Cheques de la Conciliación vencerán y serán
nulos 90 días después de su emisión.

                                  CÓMO OBTENER BENEFICIOS
 9. ¿Cómo obtengo beneficios?

Si es Miembro del Grupo de la Conciliación y desea participar en la Conciliación, debe completar y enviar
un Formulario de reclamo, bajo pena de perjurio, a más tardar el 28 de agosto de 2018. El Formulario de
reclamo está disponible en www.TelenavTCPASettlement.com o puede obtenerse si llama, por línea
gratuita, al 1-877-646-9240 o si se comunica con los Abogados del Grupo de demandante al 1-720-213-
0676. El Formulario de reclamo puede presentarse en línea en el Sitio web de la Conciliación,
www.TelenavTCPASettlement.com, o por correo postal. Solo puede hacerse un reclamo por número de
teléfono celular.



    Llame al 1-877-646-9240 para comunicarse con el Administrador de la Conciliación y al
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                                  PERMANECER EN EL ACUERDO
 10. ¿A qué renuncio si permanezco como parte del Grupo de la Conciliación?

Si la Conciliación adquiere carácter definitivo, usted renunciará a su derecho de demandar a Telenav por
los reclamos que se resuelven por esta Conciliación. Los reclamos específicos contra Telenav a los que
está renunciando se describen en la sección V del Acuerdo de conciliación. “Eximirá” al Demandado y a
todas las personas relacionadas como se describe en la sección II.29 del Acuerdo de conciliación. A menos
que se excluya (consulte las preguntas 14-16), “deja sin efecto” las reclamaciones, independientemente
de si presenta un Formulario de reclamo o no. El Acuerdo de conciliación está disponible en
www.TelenavTCPASettlement.com.
El Acuerdo de conciliación describe las reclamaciones que quedarán sin efecto con detalles específicos;
por lo tanto, léalo detenidamente. Si tiene preguntas, puede hablar con los Abogados del Grupo de
demandantes que se indican en la pregunta 12 de manera gratuita, o bien puede, por supuesto, hablar con
su propio abogado si tiene preguntas sobre lo que significa esto.

 11. ¿Qué sucede si no hago nada?

Si no hace nada, no recibirá ningún beneficio de esta Conciliación. Sin embargo, a menos que se excluya,
no podrá comenzar una demanda ni ser parte de una demanda contra el Demandado por los reclamos que
se resolverán en esta Conciliación.
                             LOS ABOGADOS QUE LO REPRESENTAN
 12. ¿Tengo un abogado en este caso?

El Tribunal ha nombrado a Steven Woodrow y a Patrick Peluso de Woodrow & Peluso, LLC, y Stefan
Coleman del despacho jurídico Law Offices of Stefan Coleman P.A. para que funjan como los abogados
que representan al Grupo de la Conciliación. Se los denomina “Abogados del Grupo de demandantes”.
Luego de realizar una investigación exhaustiva, ellos creen que el Acuerdo de conciliación es justo,
razonable y beneficioso para el Grupo de la Conciliación. No se le cobrará por los servicios de estos
abogados. Si desea ser representado por su propio abogado en este caso, puede contratar uno por su propia
cuenta. También puede registrar una comparecencia mediante un abogado si así lo desea.
 13. ¿Cómo se pagará a los abogados, al Representante del Grupo de la Conciliación y al
 Administrador de la Conciliación?
El Acuerdo de conciliación permite que los Abogados del Grupo de demandantes presenten una solicitud
para que se les reconozcan honorarios y costos razonables de abogados por hasta un tercero del Fondo de la
Conciliación por concepto de honorarios y gastos por investigar los hechos, litigar el caso y negociar la
Conciliación en este caso. Los Abogados del Grupo de demandantes pueden solicitar, y el Tribunal puede
otorgar, un monto inferior al solicitado. Los Abogados del Grupo de demandantes también solicitarán al
Tribunal que se les reconozca una Compensación incentiva por valor de máximo $5,000 para el
Representante del Grupo de la Conciliación por sus esfuerzos para entablar la acción judicial y prestar su
asistencia a lo largo del litigio. Si son autorizados por el Tribunal, estos montos serán deducidos y pagados
a partir del Fondo de la Conciliación antes de hacer los respectivos pagos a los Miembros del Grupo de la
Conciliación que presenten Formularios de reclamo válidos. La Conciliación también requiere que todos los
costos y gastos asociados con la entrega de avisos y la administración de la Conciliación se paguen a partir
del Fondo de la Conciliación antes de hacer pagos a los Miembros del Grupo de la Conciliación.



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                                 EXCLUIRSE DE LA CONCILIACIÓN
Si no desea participar en esta Conciliación, o desea conservar el derecho a demandar o a seguir con la
demanda al Demandado por cuenta propia, debe seguir los pasos necesarios para excluirse. Esto se conoce
como “apartarse” u “optar por no formar parte” de la Conciliación. Si se excluye de la Conciliación, no
tendrá derecho a recibir los beneficios de la Conciliación.

 14. ¿Cómo me excluyo de la Conciliación?

Para excluirse de la Conciliación, debe enviar una carta (o solicitar la exclusión) por correo en la que
indique que usted desea ser excluido de la Conciliación de Gergetz v. Telenav, Inc., caso n.º 5:16-CV-
4261-BLF. Su carta o solicitud de exclusión también deben incluir su nombre, su dirección, el número de
teléfono celular que presuntamente recibió los mensajes de texto pertinentes de un número de Telenav, y
su firma. Debe enviar su solicitud de exclusión para que tenga el sello postal fechado a más tardar el 16
de agosto de 2018 a la siguiente dirección:
                                         Settlement Administrator
                                          Gergetz v. Telenav, Inc.
                                               P.O. Box 2995
                                         Portland, OR 97208-2995
No puede excluirse por teléfono ni por correo electrónico.
El Tribunal excluirá del Grupo de la Conciliación a cualquier Miembro del Grupo de la Conciliación que
solicite ser excluido dentro del plazo establecido.

 15. Si no me excluyo, ¿puedo demandar al Demandado por este mismo asunto en el futuro?

No. A menos que se excluya, usted renuncia a todo derecho de presentar una demanda contra Telenav por
los reclamos que este acuerdo resuelve.

 16. Si me excluyo, ¿puedo obtener algo de esta Conciliación?

No. Si se excluye, no presente el Formulario de reclamo para solicitar beneficios. Si deja de ser elegible
para recibir un beneficio de la Conciliación.

                                CÓMO OBJETAR LA CONCILIACIÓN.
 17. ¿Cómo le hago saber al Tribunal que no estoy conforme con la Conciliación?

Si es un Miembro del Grupo de la Conciliación y no se excluye, puede objetar cualquier parte de la
Conciliación si no le gusta alguna parte de la misma. Puede indicar las razones por las que piensa que el
Tribunal no debería aprobarla. El Tribunal considerará sus posturas antes de decidir si aprueba la
Conciliación. Para presentar una objeción, debe enviar una carta en la que indique que objeta la
Conciliación en Gergetz v. Telenav, Inc., Caso n.º 5:16-CV-4261-BLF e identificar todos sus motivos para
sus objeciones (incluidas las citas y pruebas de respaldo) y adjuntar cualquier material en el que usted base
sus objeciones. Su carta o informe breve también debe incluir su nombre, su dirección, el número de
teléfono celular en el que presuntamente recibió los mensajes de texto pertinentes y su firma. Debe enviar
por correo postal o entregar la objeción al secretario del Tribunal a la siguiente dirección, con sello postal
fechado a más tardar el 16 de agosto de 2018. Si usted está representado por un abogado, su abogado debe
registrar su objeción o comentario ante el Tribunal. Incluya la información de contacto de su abogado en
la objeción o el comentario.

    Llame al 1-877-646-9240 para comunicarse con el Administrador de la Conciliación y al
       1-720-213-0676 para comunicarse con los Abogados del Grupo de demandantes.
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                                         Clerk of the Court
                   Robert F. Peckham Federal Building and United States Courthouse
                                   280 South 1st Street, Room 2112
                                         San José, CA 95113
Los Abogados del Grupo de demandantes presentarán su solicitud al Tribunal y la publicarán en el Sitio
web de la Conciliación para que se paguen los honorarios de los abogados dos semanas antes del plazo de
la objeción.

 18. ¿Puedo hablar con el Tribunal sobre mi objeción?

Sí, puede solicitarle al Tribunal permiso para hablar durante la audiencia. Si desea comparecer y hablar
en la Audiencia de aprobación final para objetar la Conciliación, con o sin abogado, debe decirlo en su
objeción, designarla como una “Objeción y notificación de intención de comparecer en la Audiencia de
aprobación definitiva”, o debe enviar una carta en la que indique su intención de hablar en la Audiencia
de aprobación definitiva al secretario del Tribunal en la dirección antes indicada. Si presentó su objeción
por separado, su Notificación de intención de comparecer en una Audiencia de aprobación definitiva debe
incluir su nombre, dirección, número de teléfono y su firma. Envíe el aviso por correo postal de forma que
tenga sello postal fechado a más tardar el 16 de agosto de 2018.

 19. ¿Cuál es la diferencia entre objetar y excluirme del acuerdo?

Objetar es sencillamente decirle al Tribunal que a usted no le gusta algo de la Conciliación. Puede
presentar una objeción solo si es parte del Grupo de la Conciliación. Al excluirse, usted le indica al
Tribunal que no quiere formar parte del Grupo de la Conciliación. Si se excluye, se excluirá de toda la
Conciliación, así que no tiene fundamentos para objetar porque el caso ya no le afecta.

                   AUDIENCIA DE APROBACIÓN DEFINITIVA DEL TRIBUNAL
 20. ¿Cuándo y dónde decidirá el Tribunal si aprueba la Conciliación?

El Tribunal llevará a cabo la Audiencia de aprobación definitiva a la 1:30 p. m. el 6 de septiembre de
2018 en el Robert F. Peckham Federal Building and United States Courthouse, Courtroom 3, 5th Floor,
280 South 1st Street, San José, CA 95113. El propósito de la audiencia será que el Tribunal determine si
aprueba la Conciliación como justa, razonable, adecuada y beneficiosa para el Grupo de la Conciliación,
que considere la solicitud de los Abogados del Grupo de demandantes de recibir compensación por gastos
y honorarios de los abogados, y que considere la solicitud de recibir una Compensación incentiva para el
Representante del Grupo de la Conciliación. Si alguna parte ha pedido tomar la palabra en la audiencia
(consulte la Pregunta 18), el Tribunal la escuchará en ese momento. El Tribunal dará su decisión después
de la audiencia. No sabemos cuánto tiempo demorará el Tribunal en tomar su decisión.
La audiencia puede ser pospuesta a una fecha u hora diferente sin aviso previo, así que si usted tiene
planeado asistir, se recomienda que hable por teléfono con los Abogados del Grupo al 1-720-213-0676
para verificar. Si, sin embargo, objetó de manera oportuna la Conciliación y le informó al Tribunal que
tiene la intención de comparecer y hablar en la Audiencia de aprobación definitiva, recibirá un aviso sobre
cualquier cambio en la fecha de dicha audiencia.

 21. ¿Debo asistir a la audiencia?

No. Los Abogados del Grupo de demandantes responderán cualquier pregunta que el Tribunal dirija al
Grupo de la Conciliación. Sin embargo, puede venir por su cuenta si lo desea. Si presenta una objeción,
no tiene que presentarse en el Tribunal para hablar sobre ella. Siempre que haya enviado su objeción por

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escrito a tiempo, el Tribunal la tendrá en cuenta. Usted también puede pagar a otro abogado para que asista
a la audiencia, pero no es necesario que lo haga.

                              CÓMO OBTENER MÁS INFORMACIÓN
 22. ¿Cómo puedo obtener más información acerca de la Conciliación?

Este aviso resume la Conciliación propuesta. Podrá encontrar más información en el Acuerdo de
conciliación completo, que puede ser consultado o descargado en www.TelenavTCPASettlement.com.
También puede obtener una copia del Acuerdo de conciliación si le escribe al Administrador de la
Conciliación a la siguiente dirección: P.O. Box 2995, Portland, OR 97208-2995 o si visita el sitio web
de www.TelenavTCPASettlement.com. Si tiene preguntas, puede llamarle al Administrador de la
Conciliación al 1-877-646-9240 o al Abogado del Grupo de demandantes al 1-720-213-0676. Sin
embargo, antes de hacerlo, lea todo el aviso detenidamente.
Muchos de los documentos del Tribunal, incluido este aviso, el Acuerdo de conciliación, y la Orden para
aprobación preliminar están publicados en el Sitio web de la Conciliación,
www.TelenavTCPASettlement.com. También puede obtener una copia del Acuerdo de conciliación o
revisar cualquier otro documento público relacionado con la demanda al consultar los registros de este
caso, Gergetz v. Telenav, Inc., caso n.º 5:16-CV-4261-BLF en la oficina del secretario judicial del U.S.
District Court for the Northern District of California, Robert F. Peckham Federal Building, 280 South 1st
Street, Room 2112, San José, CA 95113. La oficina del secretario judicial tiene la posibilidad de hacer
copias de cualquiera de dichos documentos a cambio de una tarifa establecida. Igualmente, todos los
documentos registrados en el caso, incluido el documento de la Conciliación, pueden ser consultados en
línea por un cargo mediante el sistema de revisión de documentos PACER del Tribunal (www.pacer.gov).
Cualquier pregunta que usted pueda tener sobre este aviso no debe dirigirse al Tribunal, sino al
Administrador de la Conciliación o a los Abogados del Grupo de demandantes.

 23. ¿A qué renuncio a cambio de recibir los beneficios de la Conciliación?

A menos que se excluya, usted exentará a Telenav y sus predecesores, sucesores y sus entidades matrices,
subsidiarias, empresas filiales y sociedades pasadas, presentes y futuras, y cada uno de sus respectivos
directores, ejecutivos, gerentes, empleados, socios generales, socios limitados, miembros, mandantes,
agentes, aseguradoras, reaseguradoras, accionistas, abogados, asesores, representantes, predecesores,
sucesores, divisiones, empresas conjuntas, cesionarios, vendedores, contratistas independientes o
cualquier otro representante, y cada uno de sus respectivos albaceas, administradores, sucesores,
cesionarios y representantes legales (en conjunto, “Partes exentas”) de todo reclamo relacionado con los
Mensajes de texto de “Descargue la aplicación Scout” e intentos ineficaces de cancelar el envío de
mensajes de texto adicionales de un número de teléfono Telenav durante el Periodo del Grupo de
demandantes. Usted no podrá demandar, continuar demandando, ni ser parte de ninguna otra demanda en
contra de Telenav o cualquiera de las Partes exentas sobre estas reclamaciones. Usted quedará legalmente
vinculado por todas las órdenes del Tribunal en relación con la Conciliación, así como las “Reclamaciones
exentas” (consulte la Pregunta 24).

 24. ¿Cuáles son las reclamaciones exentas?

Las “Reclamaciones exentas” son todas las reclamaciones, pretensiones judiciales, litigios, obligaciones,
deudas, demandas, acuerdos, promesas, responsabilidades, daños y perjuicios, pérdidas, controversias,
costos, gastos y honorarios de abogados de cualquier naturaleza, ya sea con base en cualquier ley federal,
ley estatal, “common law”, ley territorial, ley extranjera, contrato, norma, reglamentación, cualquier
promulgación normativa (lo que incluye a modo no taxativo cualquier opinión o norma declaratoria),

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“common law” o “equity”, independientemente de que sea conocido o desconocido, sospechado o
insospechado, afirmado o no afirmado, previsible o imprevisto, real o contingente, predeterminado o no
predeterminado, punitivo o compensatorio, a la fecha de la Orden de aprobación definitiva y Sentencia,
que surjan de o se relacionen de alguna forma con (a) el envío de los Mensajes de texto de Descargue la
aplicación Scout o (b) el envío de mínimo un mensaje de texto adicional diferente a un mensaje que
confirme una solicitud de exclusión a cualquier persona que haya respondido STOP (PARAR), QUIT
(FINALIZAR), END (TERMINAR), CANCEL (CANCELAR) O UNSUBSCRIBE (CANCELAR
SUSCRIPCIÓN), a cualquier mensaje de texto recibido de un Número Telenav, en cualquier caso durante
el Periodo del Grupo de demandantes, lo que incluye las presuntas infracciones de la Ley de Protección
al Consumidor Telefónico, art. 227 y siguientes, Título 47 del U.S.C. (“TCPA”) y leyes estatales similares
relacionadas con el envío de mensajes de texto sin consentimiento o después de la revocación de
consentimiento. Las Partes reconocen y aceptan que la Conciliación no exenta ningún reclamo que tengan
los Estados u otras entidades gubernamentales. La exención cubre reclamaciones conocidas y
desconocidas y exenta derechos en virtud del art. 1542 del Código Civil de California y leyes similares.
Esto también significa que todas las órdenes del Tribunal se aplicarán a usted y que estará legalmente
vinculado por las mismas. Todas las disposiciones de la Exención se establecen en la sección V del
Acuerdo de conciliación, que está disponible en www.TelenavTCPASettlement.com.




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  Se ha                                    Document
        llegado a una Conciliación en un litigio             75-4 titulado
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                                                                                                       caso n.º 5:16-CV-
  4261-BLF (N.D. Cal) en el cual se reclama que Telenav envió mensajes de texto a teléfonos celulares en infracción de la
     Ley de Protección al Consumidor Telefónico, art. 227 y siguientes, título 47 del U.S.C. que invitaba a los destinatarios a
     descargar la aplicación móvil Scout para usuarios de teléfono celular que nunca dieron su consentimiento previo y expreso y
     que Telenav continuó enviando mensajes de texto a usuarios de teléfono celular que habían respondido con un comando de
     “STOP” (PARAR) o un comando similar. Telenav niega los alegatos. El Tribunal ha aprobado la Conciliación, que podría tener
     un impacto en sus derechos independientemente de que actúe o no. Este es solo un resumen. Visite el sitio web para consultar
     el aviso completo, presentar un reclamo y ver documentos importantes.
     ¿Cómo sé si soy Miembro del Grupo de demandantes? Usted es un Miembro del Grupo de la Conciliación si residió en
     los Estados Unidos y recibió mensajes de texto entre el 28 de julio de 2012 y el 5 de marzo de 2018, que incluían un enlace a
     http://scoutgps.com y el mensaje “Download Scout to send notifications” (Descargue Scout para enviar notificaciones),
     “Connect with [NAME] by downloading Scout” (Conéctese con [NOMBRE] al descargar Scout), “To see [NAME]’s progress
     and communicate, download Scout” (Para ver el progreso de [NOMBRE] y comunicarse con él/ella, descargue Scout), o
     “Welcome to Scout! [NAME] is using Scout to talk about, plan, and navigate to Meet Ups,” (Bienvenido a Scout, [NOMBRE]
     está usando Scout para hablar, planificar y navegar a reuniones) (el “Subgrupo de Sin consentimiento”), o (b) usted recibió
     como mínimo un mensaje de texto adicional diferente a un mensaje para confirmar una solicitud de exclusión después de
     responder: STOP (PARAR), QUIT (FINALIZAR), END (TERMINAR), CANCEL (CANCELAR) O UNSUBSCRIBE
     (CANCELAR SUSCRIPCIÓN) (el “Subgrupo de PARAR”). Puede consultar la lista completa de Números de Telenav para
     efectos de esta Conciliación en el aviso completo disponible en www.TelenavTCPASettlement.com. Usted puede ser miembro
     de ambos subgrupos.
     ¿Qué estipula la Conciliación? El Demandado pagará $3,500,000 a un Fondo de Conciliación. Después de deducir honorarios
     de abogados, la Compensación incentiva y gastos y los costos de aviso y administración de reclamaciones, el Fondo de la
     Conciliación se dividirá entre Miembros del grupo de la Conciliación que presenten reclamos válidos usando un formulario
     y los límites explicados en el Acuerdo de conciliación. El dinero restante después de estos desembolsos será donado a un
     beneficiario cercano aprobado por un Tribunal.
     ¿Cómo presento un reclamo? Visite www.TelenavTCPASettlement.com y presente su Formulario de reclamo en línea o
     descargue el formulario y envíelo por correo de forma que sea registrado en línea o marcado con sello postal fechado a más
     tardar el 28 de agosto de 2018. Incluya la id. del Miembro del Grupo de demandantes en la parte frontal de esta postal con
     su reclamo.
     ¿Qué otras opciones tengo? Si no desea que este acuerdo tenga efectos jurídicos vinculantes para usted, debe excluirse,
     a más tardar, el 16 de agosto de 2018. Si no se excluye, renunciará a sus reclamaciones en contra de Telenav, conforme se
     describe con más detalle en el Acuerdo de conciliación. Si permanece en la Conciliación, puede objetarla a más tardar el
     16 de agosto de 2018. El Aviso detallado disponible en el sitio web que se indica a continuación explica cómo excluirse u
     objetar. El Tribunal tiene programado llevar a cabo una audiencia el 6 de septiembre de 2018 en el Robert F. Peckham Federal
     Building and United States Courthouse, Courtroom 3, 5th Floor, 280 South 1st Street, San José, CA 95113 para considerar si
     aprueba la Conciliación, la solicitud de los Abogados del Grupo de demandantes para recibir honorarios de abogados por hasta
     un tercio del Fondo de la Conciliación más costos y gastos, y compensaciones por servicios para el Representante del Grupo
     de demandantes por $5,000. La moción para honorarios y costos de abogados se publicará en el sitio web después de que sea
     registrada. Usted puede asistir a la audiencia, pero no es obligatorio que lo haga. Puede contratar a su propio abogado, por su
     cuenta, para que comparezca y declare en su nombre en la audiencia. Para leer el aviso completo o registrar un reclamo, visite
     www.TelenavTCPASettlement.com o llame al 1-877-646-9240.
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    INFORMACIÓN IMPORTANTE:
    Si usted recibió un mensaje de texto
       en su teléfono celular desde un
      número de Telenav, sus derechos
       pueden verse alterados por un
       Acuerdo de demanda colectiva
   Puede encontrar más información en:
    www.TelenavTCPASettlement.com
